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  8
                             UNITED STATES DISTRICT COURT
  9
                          SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 19-cv-01226-L-AHG
      KYLE YAMAMOTO; PWGG, L.P.
 12                                                       Hon. Judge M. James Lorenz and
      (d.b.a. POWAY WEAPONS AND GEAR
                                                          Magistrate Judge Allison H. Goddard
 13   and PWG RANGE); NORTH COUNTY
      SHOOTING CENTER, INC.; BEEBE
 14
      FAMILY ARMS AND MUNITIONS                           DECLARATION OF DAVID T.
      LLC (d.b.a. BFAM and BEEBE FAMILY                   HARDY IN SUPPORT OF
 15
      ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
 16
      POLICY COALITION, INC.;                             PRELIMINARY INJUNCTION
      FIREARMS POLICY FOUNDATION;                         (Part 2 of 4)
 17
      THE CAL GUN RIGHTS FOUNDATION
 18
      (formerly, THE CALGUNS                              Complaint Filed: July 1, 2019
 19   FOUNDATION); and SECOND                             Amended Complaint Filed: July 30, 2019
      AMENDMENT FOUNDATION
 20
                                 Plaintiffs,
                                                          Date: November 18, 2019
 21   v.
                                                          Time: 9:00 a.m.
 22   XAVIER BECERRA, in his official                     Courtroom: Dept. 5B
      capacity as Attorney General of the
 23
      State of California, et al.,
 24                                  Defendants
 25

 26

 27

 28
                     DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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            EXHIBIT "8"




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                        Militia fanned and regulated.                         44 1
           AN ACT for fofming and regulating the militia with-
             . in this Seate, and for repe~ling all' the laws hereto- Paffed Dec.
               '            '                .                           2 8, 1792.
               fore made for that purpole.
                 E it ena[fed by the Senate aiJd Haufe rf Reprefenta-
          B       tiver i11 General-Court co1;·v1111ed That the fcvcral Repealing
                                                  1

         -iaws l1eretofore made for regulating the militia, be, claufc.
           and hereby arc repealed.
           . And be it Jiu:_ther e11a{ied, T hat each and every free
           able-bodied whi te mal.e citizen of this State, rcfiden~ MTt" how
                                                                             1 1
           tf1erci11, who is, or Hrnll be of the :1gc of eighteen a~~ b :whom
           ye. n·s, and tmdcr ;.1e age of fo · Jj years, except as to be enroll-
          11ercin after excepted, fhall fcvcrally and rcfpc8:ivcly ed.
           be enrollee! in the militia by the c,1ptain or command-
           ing officer of the company, within whofe bounds fuch
           citizen ihall rcfide, within fix rnonrhs after the paJTing
           this aL'l:. And it fhall, at all times hereafter, be the duty
          of foch captain or commanding officer of the company
           to enrol every fuch citizen, as aforefai<l ; and alfo
           thofe who !hall from time to time, arrive at the age of
           eighteen years, or being of the age of eighteen years
           and under the age of forry years ( except as hcrec1fter
           excepted) fl1all come to rcfide within his bouncls; and
           /hall without delay, notify fuch citizen of faid enrol-
           ment by a proper non-commiffioncd officer of the
           c.ompany, by wliom fuch notice may be proved.
               And be it further ena[fed, That the vice-prefitlent of
          'the United Srntes ; the officers, judicial and executive
           of the government of the United States ; the mem- Executiveof-
           bers of both houfcs of congrcfs, and their rcfpective ficers, &c.
           officers ; all cuil:om houfe officers, with their clerks ; exempted.
           all pofr officers, and fbige drivers, who are employed
           in the care and ·conveyance of the mail of the pail:
           office of the United States, and of this State ; all ferry-
           n1en employed at any ferry on the pofi: road ; all in-
          fpeL'l:ors of exports ;· all pilots ; a11 mariners acl:ually
           employed in the fea-fervice 9f any citizen or merchant
           within the United States ; members of the fenatc and
          l10ufe of reprefentatives for the time bei11g ; fecretary
           and deputy fecretary of the State ; State and couflcy
           treafurer~, rtcorders of deeds ; all tivil officers, fiu-
          dcnts of colleges anµ academics ; rniniil:ers of the goJ:
          peJ ·; elders and cleacons of churches; church wardens ;
         ·grammar fchool-mafiers for the time being; mafrers of
                                                                 arts

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                                      Militia formod and regulated.
                              arts ; people denominated qu~kers ; fele~mcn for the
                              time being ; tutors or· preceprors of any college or
                              academy·; all perfons who may have fuil:aincd coni..
                             miifions of the peace; all who have, cithe1: under
                              the cNnmiflion of the State, or the United States, or
                             any particular State, held the office of a fobnltern or
                             o1Hcer of higher rnnk ; all phyficians and furgeons,
                             who have certificates from the medical focicty or fo..
                             Jct'tmen of the town or ph1cc wherein they refide;
                             one miller to each corn-mill, at)d one toll-gather to
                             each toll-bridge, Jhall be, and they are hereby cxcufcd
                             from·rnilitin duty, and nlfo one ferryman to each ferry .
                                 ..And be it fur/her l'11tdled, 'I'hat it :fhall be the du'tx
             Each compa- of the captain 01· conunanding oflicer of each company,
             ny exclufh•e. twkc in every year, cxclufivcly of the battalion
           !!;!d      !·.
                    b~!1 1 meeting, to call forth his comp,tny for inli'>ecrion of
            and each b~t: arms, and i11Hrnl9:ion in military difciplinc, viz,-in
            talion once a the mnnths of June and September, anmrnlly, nnd ut
            ;Ycai·.         fuch ot hc1· times as he fl1aJl think heft ; and that cnch
                            commanding officer of n battalion, fhull call his battal·
                            ion together once in every year.
                     ..         .Aild be it Ji1r1her enaftcd, That each divifion within
                    t·
           !~ci,1t:1 this .State, Chall be commanded by one major-general,
           an<l 1·eg~~~nt \\.'ho fhaJI have· two aids-<.k•camp, with the ra11k. of
           by whom          major ; each brigade by one brigadier-general, who
           commanded. lhall ha\'e one brigade-infpecl:or, \Vho is alfo to perform
                            t.hc duty of brigade-major, with the rank of major.
                            To each regiment, one lieutenant colonel command-
                            ant ; and to each battalion one major; to each com-
                           pany one captain, one lieutenant, one enfign, four
                           fergeants, fom corporals, one drummer and one fifer,
                           That the regimental :llaff, flrnll confilt of one adjutant,
                           one quartcr-maH:cr, to rank as Jicutenants ; one pay•
                           maftcr ; one furgeon ; one furgeon's mute ; one fer ..
                           geant-major ; one drum-major and one fife-major.
              ,                ,J(1nd bt: it further eno{led, That tl1erc flrnll he pro ..
          '\l hattcolo u~s vidcd at the cx11cnfc of this
          1111<1 a w1101e                                  •
                                                               State• for each reg·iment.
          cxpence tobe one {hmdard and one fmt of regnnental colot1rs-rhc
          fornifhed. {bihdard to bear the device, " the arms of the United
                           States ;" the regimental coklllrs, · c, the arms of this
                           State ;" that the drums and fifes be furnifhed by the
                           commanding officers of the companics1 at the expenfe
                           of the State.                                               ·
                                                                                   .tind

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                       Militia former! and regulated.
               ,A11d b<! it further enafted, That the fovcral cotn··
           manding officers of comp.mies, {hull caufo accurate re- By whom re-
                                                                               -
                                                                               443

                                       .        •                       turns are to
            turns to be made of then· companies to the comm:rnd· be made.
           ing officer of the regiment to which they belong, be
           fore the firil: day of February annually ; and the com-
           mandi,ng officer of each regiment, £hall caufe to be
           made 'to the brigade major, a prnper return of his re-
           giment, befoi'e the fir!l: day of March annually; and
           the refpccl:ive brigade majors, fhall make out to the
           adjutant general, returns of their refl"'lCcl:ivc brigades,
           before the firfl: day of April annually, agreeable to
           the forms that may be cil:ablifl1cd by the adjutant
           general, which the adjutant ~eneral fhall caufc attcfi:cll
           copies ot~ to he lodged in the focretary's oflice, by the
           firil: day of 1\-Iay annually.
               All(/ be it further enatli•d, That each comn~anding Penaitv for
           officer of a company, who fhall ncglecl: to call his com- not cailing
           pany together, as before provided, !hall forfeit and companie:; or
          pay fol' ~ach neglect the fum of fix pounds ; and each ba~talions
           commanding officer of a battalion who !hall ncglecl: to toge thcr.
          call his battalion, as before dirccl:cd, flrnll pay a fine of
          nine pounds.           .
              Ami be it further e11a811d, That it flrnll be accounted Notice.
          fofficient notice to any 11011-cominiffioncd officer or
          privates, for appearance on mufter da.y3 1 to be notified
          of fuch mufi:er by a non-commiffioned officer in per..
          fon, .or by a writing by him figncd, to be left at. his
          lail:, · and ufual place of abode, four days prior to
         foch day of muil:er; and if any non-commiffioned offi-
         cer 01· pri vatc, after fuch notification, fhall unncccf..
         fariJy negled: to appcai· equipped, as the law dh·ccts,
         11e flrnll pay a fine of nine lhillings, which {hall be
         levied by dHhcfs, and fale of the offenders goods
         and chattels, by warrant under rhc hand and foal of
         the captain, or commanding officer of faid company,
         to be directed to the fir!l: fergeant of the company,
         who is to levy the fame, by the fame rules and regula-
         tions, as the laws have pointed out for collecH1ig rates
         and taxes, and fliall have one quarter part thereof for
         his trouble, and the fame fees that are allowed to col-
         Iecl:ors, on diftraining for taxes-and if no goods and'
         chattels of the delinquent arc to be found, then to
        ·levy the fame on the body of fuch delinquent: Provi...
                                                                 rfed


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           444 ·                   Militia formed ~11d regulated,
                        ded neverthelef.r, That no fuch warrant .fhall be iffued
                        until fifteen days after faid muficr days, that the delin..
                        qucnt may have time to make excufe (if any he bas)
                        for his non~appcarance, which is to be ·made to the
                        commanding· officer of the company.
                            "1nd be it further e11atl,•d, That if any no11 .. conm1if.
           Dif~bedience fioned officer or fold ier, ih all prov~ refractory or difo~
           1mm!hed,     bedient on a muil:cr day, or ihaH mfult or abufe liis.
                        officers, or either of them, or treat them with difrc-
                        fpecl: or contempt, the commanding officer prefcnt,
                        may order the offender to be immediately tried by five
                        commiifioned officers, if fo many f110uld be prcfcnt ;
                        and if not fo mt1.ny prefen t, as many as thc1'c arc in
                         the field, who are empowered to pt1nifl1 the offender,
                         by ordering him to pay a fine not exceeding forty
                        ihillings, at the difcretion of the officers, or ride a
                         wooden horfc.
           ~fficers to. And be it furtbor e11t18ed, That on all muller days,
           y,eld obedi- every ofiicer flrnll yield due obedience to his fupcrior
           ence.         oHicer ; and every non-commiffioned officer and foldier
                         flrnll yield o-ntire and due obedience to the commands of
                         their fupcrior officers. And if any officer flrnlJ, on fuch
                         days ( or at any other time) refof'c and neglect to obey the
                         ordet·s he may receive from his fuperior officers re-
                         f)Jecl:ing nny matter relating to tl1e government of
           s erior offi- militia, he flrnll be tried by a court-martial, and if con-
           c;~Pto nneft vicced thereof, ihall be cafhiercd. And the fupcrior
           and repol't. officer may iinmediately put fuch offender in arreft,
                         and report him and his offence ro the officer command-
                         ing the brigade (if the offender is undel' the rank of a
                         field officer) and the commanding officer of the brigade
                         is hereby impowered to appoint a court-martial for
                         fuch trial, and to approve the fontencG; and if foid
                         offender Jhall by faid court he cafhiercd, and the 1cn#
                         tence thei·eof approved, the faid officer lhall be deemed
                         incapable of holding any military office again in this,
                         State ; and in cafo the offender is of the rank of a field
                         officer, or of higher rank, his offence lhall be reported
                         to the major-general, 01· officer commanding the divi-
                         fion, who is 11ereby impowercd to appoint a court-
                         martial for the trial of fuch offender, to approve the
                         fentence of faid court ; and if the offender be found
                         guilty and the fentcncc (hall be approved, he fliall be
                         difqualified as aforefaid.- .             ·           The


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                            )vlilitia f()rmed and regulated.
                   The commander in chief fhall at a1J times, have the Commander
               rjght of appointing courts.. martiul, when he fhall chink in ch.ief may ·
                                                                                           -
               •        n-.                                                       appomt
               1t neceuary,                                                       colu'ts mal'-
                   All comts·martial, when apppointed by the com- tiul.
               mane.for in chief, fhall confitl: of t hirtccn members, the N                     f
                                                                                         I
               prefident of which fhall be of the railk. of major-gene .. :n~i;:;;;s,          0

               ral.           .
                   All courrs-mnrtial, when appointed by a major~gcn-
               cral, fhall confiil: of thirteen members, and the prefi-
               dent flrnll be a lieutenant-colonel or officer of higher
              rank.
                  All courts-martial, appointed by a brigadier, !hall
              confift of thirteen ·members, the prefident of which
              lhall at leaft, be of the rank of a field officer.              ·
                  The membei·s of the courts-marthl are to be fworn
              by the prefi~ient, and the prefident fhall be fworn by M1embetrs, hby
                              . l1e1L
              t I1e 11'Cxt· lug        rn ran k of t I1e mcnwcrs
                                   11. •                       1_           ,
                                                                     compohng    w 10m o e
                                                                                fworn~
              the fame, and the prcfident of every court-martial,
              !ball have power to adminif.l:er the oath to every wit-
              ncfs.
                  In order ro the t1 ial of offenders, the oath of the
              prefident and members, .fhall be in the words follow-
              ing, viz.                         ·
                  rOU f wear, that you wi !! well and truly try, and im- Oath.
             partially determine the charge again.fl the perfan now to
              be tried, according to the rules for regulating the mi/ilia                            ~   ...
                                                                                                         -


              of this State,                             So helpyou    GOD.
                  The oath to       be ad1i1inift:ered to witne.ff'es in courts
              martial, {hall be in the form following, viz. .
                  rOU [wear, the evidmce you jhall give relative to Oath of wit ..
             the charge now ill hearing, jhall be the truth, the whole neffes.
             truth, and nothing but the lrutf;,,
                                                     So help yon GOD.
                  And be it further enaEted, T.bat all military officers
             .fhall be amenable to a court-martial for any un-officer, Officers a-
             or un-gentleman-like conduct 01· behaviour while on ~ :bnable. for
                                                    anc, to be tt'le
                                                                  . d, and 1en-
             cl uty, and at all other rnnes, .         l                   r    t 11 1 era 1 :,e.
                                                                                ha.viour.
             tence approved in the fame way and manner as before
             provided fo1· difobcdience of orders.
                  And be it further enacled, That all perfons called by
             fommons from the prcfident of any court-martial to Witneffcs re-
            .give evidence, who .fhall unreafonably refuCe or nc- fufing,&c•.'ro
             gletl: to appear, or appearing, !hall refufe to gi vc evi- ~e/om~11t -
           ·dence, fhall be committed to the common gaol of the e to g,,o 1•
                                               1i                     county

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                                 fv!iliti,1 form,,J m;d regu!ate_d,
                       county where fuch court is fitting, there to remain
                       three months, unlefs fooner difchargcd therefrom by
                       the jufl:ic.es of the fuperiol' court : And the prefident .
                       of the court is to lodge the accufotion againil: him
                       with the prifon-kceper~         ·
               ·          And be it further ena[led, That every perfo11 ap~
        Judge -advo* pointing a c9u1·H11artia1, lha.ll appoint fome fuitabJe
        ca~cto heap- perfon to acl: as judge advocate> who ihall make a fair
        J)ornted.      record of the whole proceedings and deliver them to
                       the office,· nppointing faid courMnurtiaJ, who ihall
                     · canfe the fame, or a copy thereof, to be lodged in the
                       fec1·ctary's office, within three months after fuch trial,
                        , J1nd be it furtber e11t1fled, That out of the militia
                                                                                     1
       Each battal- enrolled as herein directed, there fhall be formed for
       ion to have each batrnlion, at leail one compilny of grenadiers or
       one comp~ny lirrht infantry . and to each divifion there niall be at
       CJf grenadiers o                 '           .
       &c. and one lea:ft: one company of artillery, and one troop of horfe.
       co1~pauy of T11cre !hall be to each company of artillery, one cap-
       nrullery.      tain, two Hemcnants, four fergcants, four corporals,
                      fix gunners, fi:\ bombardiers, one drummer and one
       Officers how fifer. The officers to be armed with a fword or hunger,
       to be armed, a fufce, bayonet and belt, with a cartm.1ch box, to con- ·
                       rain twelve cartridges ; and each private matrofs {hall
                      be fornifhed with the fame equipments as privates in
                       the infantry. There flrnll be to each troop of horfc,
       J:;r:P~,o~! one captain, two lieutenants, one e<Jr.net,four forgeants,
       efliccred, &c. four corporals, one fadler, one farner and one trnmp•
                      eter, · The comrnifiioned officers to furnilh themfelvcs
                      with good ·110rfcs of at lea:ft: fourteen hands and an
                      frnlf high, and to be arincd with a f word, and pair of
                      piftols, the holfl:ers of which to. he covered with bear-
                      fkin caps, Each dragoon to furnilh himfc)f with a
                      ferviceublc horfe of nt leaft fourteen hands and an half
                      Mgh, a good fuddle, bridle, :mail-pillion and valifo,
                      l10lfl:ers, a bre:ift-plate and crupper, a pair of boots and
                      fpurs, a pair of pifrols, a fobre, and cartouc1\ box, to
       Artillery and contain twelve cartridges for pifro]s, That each com-
       horfe of. pany of artillery and troop of horfe, flrnll b_c formed of
       -.yhom to be volunteers from the brigade, at the difc1,.etion of the
       formed, ao d commander in chief of the State, not cxceedJng one
                      company of each to a regiment, and ihall uniformly be
       uniformly cloathcd in regimentals, to be furnHhcd at their own
       clad.          cxpence 1 the co16ur and fafhion to be determined by
                      the brigadier commanding the brigade to which 'they
                      belon~.                                              .Lind

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                           Militia forn,ud and regulated.
                 And he it further enalled, That each no11-co111miffio11-                  -
              ed officer and foldie'r belonging to the rcgimenrn of How to dhe
              foot, fl 1\lII wit. I1111
                                    . one year f·rom
                                                   . an(!J nftcr t•-11e pa1'I'mg arme<1 1.1 n
                                                                                 accolitred.
              this act, fornifh hi111folf with a good tire-lock, bayonet
              and belt, a cartonch box that will contain twenty-four
              cartridges, two good flints, a knapfack and canteen-:--
              o.nd th::1.t the commi!Iioned belonging to companies of
              foot, {hall be fcvcrully armed with a fword or hanger,
              and an cfpo11toon, anc.l that the field officers be nn1,1cd
              with a fword or hanger.
                 And be it further (!,za[/;ed, That foch of the infantry
           . .es are under the care of parents, nrnfters or guardians,
             null be furnifhed by them with fuch arms and arcfJU- Thofc, unable
              trcmcnts. And foch as are unable to furnifh themfolves, &c. t~ be e~
             fi1all make application to the folcc1:men of the town 1 quipped at
             who are to certify to their captain or comm:mding· of- th c expc 11 ce
             ficer, that they .arc unable to equip     • theme   fi lves, and of the town.
             the faid fclectmcn flrnll, at the expence of the town,
             prnvide for, and fnrni01 fuch pedons with arms and
             equipments; which arms and equipments thall be the
            prop"!rty of the town, at whofo expcnce they were
            pl'ovided t And if any pcrfon fo furni01ed, fuall em~
            bezzle or \Vilfully deftroy the fame, he 1hall be punifh\'
            ed by any co1Jrt proper to try the fame, t1po11 com~
            plaint made by the f'ekt~men of fatd town, by being
           public~y whipped not exceeding twenty ihipcs, or fi- F' h
            ned not exceeding forty fhillings. And that all fines
            recovered for embezzling or defl:roying of arms and ated.
                                                                                  ~t~;P;:v:i~
            accoutrements as provided in this acr, IhalJ be paid in~
            to the hands of the felechncn to be appropriated in
           purchafing nrms and accoutrements for fuch foldiers
            as are unable to purchafe for thcmfolves:-
                And be it further en(IEled, That parents, m·dlers and Parents, &c.
           guardians fuall be liable for the neglccr :rnd non-ap· liable to a
           pearance of fuch pcrfons as are under their care ( and penalty,
           are liable by law to train) and arc to be proceeded
           againft for the penalty in the fame manner, as by this
           acl: is p1·ovided againfr othel' delinquents.~
                A11d be it further cnactt:d, That the commn11dc1· 111 M'J'                     .
           c111e. f·, t I1e ofl"1cers cpmmanc
                                        .     1111g
                                               · (11v1hons,
                                                     · .~       l)l'lgaoes
                                                                     . J or watc:he;,
                                                                                   I , ta rv
                                                                                             by
           regimcncs, may appoint military watches or guards whom to be
           when an invarion of t_he State is apprehended, in fuch appointc::<l1
           place and under fuch regulations as they mny judge
           neceifary; and all officers ~nd, foldi\!rs under their com-:
                    ·                                                  nund
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                                        Militi(I formed and regulated•
                         .. mand are to yield fi:rid obedience to tl1eir orders and
                            directions •
                                .A11d be it further e11n8ed1 That the fignals for an
            Signals to be alan~ are to be fixe;i by ~he cnp~ain general, and may
            nxcd.           by hun be altcred)rom tnne co tune, and proper notice.
                             thereof is to be by llim given to the fovcral officers ;
                            and if any non~commillione<l officer or foldier, ihall up-
                             on the alarm being given, unnecc$1rily neglecr to up-
                             pear prnperJy armed and cqL1ipped, at fuch time and
                             ~1lace as the commanding officer ihall appoint, he flrnll
                             pay a fine of twenty Jliillings ; and all 'perfons fcrving
                             on any military guards, 01· watches, flrnJI be punilhable
                            for mifconducl: while in fuch fcrvicc, by a courHnartial
                             to be appointed by the commanding officer of fuch
                            guard or watch, provided he be a field ofliccr, and in
                             cafe he is not, then by the commanding officer of the
                            regiment to which the offender belongs.
                                -4ml bf! it ji,rther c111dfrd, That when any· non-com-
            Pcn:ilty for mUfioncd of-Heer JlrnJI rcfufe or 1Jcglecl: to notify or
            refofing to warn auy of the non-c,ommiliioned officers or privarc .
            warnJ &c.       foldicrs of the company to whkh he belongs (being
                            thereto ordered by Jlis foperior officer) he .flrnll pay a
                            fint: of twelve fhiliings, for each non-commilTioned offi..
                            cer or fr>ldicr he 1h~ll neglect to wnrn, to be recovered
                            in the fame way and manner as is before provided.
            Mode of re· ...411d be it further u1111tled, That every fine arifing hy
            covering        any brench ()f this ~H.~t, for which no fpeciHl mode of
            fiu(.'s, and recovery hns bcci1 pointed out, muy be recovered by
                            ac1ion, bil1 1 plaint or information, in any court proper
                           , to try the fome.
                                And be it furtber enql!ed, That all fines recovered
            how to .be <l of any non-c.orumiiiioncd officer or foldier for neglect
            appropuate of• uury, J        fl ml I be paid
                                                       , rnto
                                                          •   the 1rn1rns
                                                                       J
                                                                          of• t 11e comma1H.1~·
                            ing officer of the company, to 1.vhich fuch non-com~ '
                            miiTioncd olficcr or foldier may belong, to be expend..
                             cd in· defraying the ncceifary expences of foch com~
                            pany; as the commiliioned officers of the fume may di"
                            rctl:. That all fines recove!'cd of t!1~ commumii11g- of~
                            ficer of any company, flrnll be paid into the hands of
                            the comma1H.ti11g officer of the battalion, to which fuch
                            coninrnnding officer of a company may belong ; to be
                             1ppri. priated in infl:rncling the mufic in fuch br!ftalion.
                                1


                                'Fi..,i: nil fines recovered of rhe comnrnnding: officer
                             ·l '.tny butLullon, !hall be. paid into the lrni1~is of _the
                                                                             co11111rnnding
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                            1vlilitia formed aml reg;,lotfJcl.
              commanding officer of the regiment to which (uch bat-                       -
                                                                                          44-9

              ta1ion may belong, to be difpofed of in defraying the
              11eceffary expenccs in forming and arranging the com~
              panics in fuch regiment, as the field officers of the
              fame may direct .
                 .And be it further. e11aff11d, That all commiffioned offi..
              cers {hall take rank according to the date ot d1cir Officers, how
              commiffions ; and when two of the fame grnde beaL' to rank.1
              equal date, th en the rank to be determined by lot, to
              be drawn by them before the commanding officer of
              the brigade,· l'egiment, battalion, company 01· detach-
              ment.
                 And be it f11rther enoEJed, That the rules of difci~ R 1 f d'C
              pline approved and elhblilhed by Congrds, in their ci~lfi!e~ 1 •
              refolution of the twenty-ninth of March, one thou-
              fand, feven hllndrcd and feventy-nine, lhall be the
              rules of difciplinc to be obfcrved by the militia in
              this State.                                      1


                 And he it furlher ena{/ed, That it fhall be the duty B • d •
                         . J 1111pc1..:LOI\
              of t I1e bng~rne • .r. n.
                                            to attenci t 11e regimen
                                                                 • ta1 an d fpeaor'sduty
                                                                              nga e rn~
              battalion mec~ings of the militia compofing their fcvc..               ·.
              ral brigades, during the time of their being under
              arms, to infpecl: their arms, anummitfon and accoutre-
              ments ; foperintcnd their exercife and manrevres, and
              introduce the fyfrem of military difdpline before dew
              fcribed,.
                   And be it further cna[ted, That the cavalry and ar- Cat.vlaltry ~nd
                            r. b'JC1.:~ to .fi ne or                                       1ta-
              t1'11 cry be n1     (2.
                                                     puni.flrn1cnt Ill
                                                                   . t I1e 1·ame ar    erythe
                                                                                 blet to
              ~nanner as thoi'e who belong to the infantry.                      fame fines.
                   And be it further enaficd, That all cotlrts-martial may Courts mar#
              confifr of officers of any corps within the limits of the tial of who1u
              bl"igade where the perfon accufcd may refide.                      to confift.
                   And be it further e11atlcd, That a captain 01· com- Legal notice
              manding officer at the head of his compnny, may di~ what confid~
              reel: his non-commiflioned officers an-d foldicrs to meet cred as fuch.
              at any future day, w.hich fliall be legal notice.
                   Aitd be it further cnaftcd, That non-commiffioncd Non.comm:
              ofHcers be reduced to the ranks, for any mifdemcanor, officers liable
              which in the opinio1.1 of alJ the cotnmiffioned officers ~~d~~;.edu-
              of .the company .fhall defcrve fuch punilhment.
                   And be it further mafled, That all commiffioned of- Commiffion-
              :ficers beJ(?nging to any cdmpany of infantry flrnII re- ed officers to
              fide within the H.mits of fuch company.                  .         refide.
                   And be it further cnafted, That when it !ha11 fo hap ..
                                                                         pen,
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           45'0                         Militia formed and regulftled,
           Different     pen, that officers of the different corps, fl~all be ,m
           corps-tM1: duty together, the fil'fi: oflicer in rank /hall comm·andJ
           in rank to
           comma11d. whether. of the infantry, cavalry or artillery.
                            And be it further ,m,,cfed, That every citizen eu..
           Arms, &c. rolled as directed in rhis acl:, and provided with arms
           free from dif.. illld ttccoutrements, fhall hold the fome exempted from
            trefs, &c,    all fnits, di:fl:reifes 1 executions, or fales for debt, or for
                           the payment of tu~es.
                              ~4nd be it further 1111a[fed, That the tnilitia of this
               . ••    b State, ihall be divided into three divifions, and if con..
                1
           M11t1ato
            divided. e ven1ent, ,     eac h d'1v11011
                                                   '{j     11 11
                                                          urn          1 L o t· two bnga
                                                                  con fiii.              · des,.
            ·             each brigade-of four regiments, each regiment of two
                          battalions, each battalion of five companies, and each
                          con,pany of fi.x:ty~four privates.                        1
                                                                                      ,.
            ~avalry and       .A11d be it further enaltcd, That in forming the cav-
           artillery of alry and artillery, 11ot more than one eleventh part
           r~omd to be l!rnll inlifl: out of any one company of iofantry into
             (nme:        f uch corps.
           Field Officerc . And be it further enacld, That the field officers of
           to ai·range ~ each and evel'y regiment, lhall form and ai·rangc the
           companies, comp::inics in their feveral regiments, from time to
                           time, as they £hall think the public good may require.
                              And he i I ft1rther enatl:cd, That there {hall be an a<lw
                        . jutant general, whofo duty it 1ha11 be to diil:ribute
            Adjntant- . all Ol'dcrs from the commander in chief of this State,
           ~enet·nl, his to the fcveral corps ; to attend all public reviews.
              uty.        when the commander in chief of this State {hall review
                          the militia, or any part thereof; to obey all orders
                          from him rc]uti vc to c,1rrying into execution and per..
                          feeling the fyilcm of military difcipline e!l:ablilhcd by
                          law; to furni1h blank forms of different returns that ,
                          may be required, and to explain the principles on
                          which they fh:\11 be made ; to receive from the l~vcral
                          officers of the different corps throughout the State, re.
                          turns of the militia, under their command, reporting
                          the aL'l:nal fitnation of their arms, accoutrements and
                          arnmunitiou, their delinquencies, and every other thing
                          which relates to the general advancement of good or-
                          der and difc]plinc.
                             And bc. it further en(!Eleil, That compcnfation fhall
           (?onipenfa-. be nrnde ~o the adjnunt gen~rnl, ~nd the. brigade in-
           rion to ,AdJ. fpccl:01·s for their,fcrviccs, from tune to time, by the
           nnd Rngadc 1eg1'fl·,1tu1.c, ns. t·J 1ey  n , 11 I·. k . fr ,
                                                , 111,1
           infpeclors,                                     t 1111 JU. ,
                             And be it .(11:·thr.•r r11(1{/1!d> Th~; the colour of the
                                                                                un~form

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                           Militia forrned and regulr1ted.
             uniform of the infantry be determined 011 by the C:olour of u..
             commander in chief.                                         mform, by
                         ·        ·     n d                        ·     whom
                .A11d be rt further enau-e I That each and every non~ mined. detcr-
             commiilioned officer or foldier, who flrnll inliil:. into Cavah-y and
             any corps of horfc 01· artillery, Jhall within fix nionths artillery, if
             from and aftcl' foch inlifrment, equip himfolf as the r,~t ~quipped
             law direcl:s and at the expiration of the foid fix wuhin fix
             months, fhou' Id he not be cqu1ppc
                                              . d as af·ore f:aw,
                                                               , 1 then returned
                                                                         months to be
             to return to the company from which he inliil:ed, and                •
             the commnnding officer thereof, is hereby direc1:ed to
             enrol him accordingly.
                And be it further e11a8ed, That the feveral compa- Cavalry to be
             nies, which compofe the regiments of cavalry, he an- ~nnexcd to
             nexed to the regiments of infantry in manner follow- mfantry. ,
             ing:
                To ea.ch regiment of infantry there ihnil be, as fat· as
             the number of companies of cavalry will admit of it, one
             troop of horfc or company of cav·,tlry \.Vith the prefent Cavalry to be
                ,      •      '                  ' .'           •·       under com-
             o(hccrs (1f th.ey fee fit) and men of fa1d compames, who mand of field
             are now uniformly cloathed and equipped, or 1hall be officers of in-
             within four months, faid trnops of horfe fhall be under fantry.
             the command of tl1e field officers of the regiments of
             fofantry, and fhall be joined to fuch regiments as flrnll
             be the moft contiguous and convenient to faid com-
             panies. Privilege fhall be allowed to the non-cotmnif-
             fioned officers and privates of cavalry at any time
             11ereafter, of being enrolJed as infantry, provided they
             decline ferving as cavalry, and faid companies of caval~
             ry may be completed by inliftments, from time to time,
             from the infantry, as vacancies may be in faid compa-
             nies.
                And be it further enalled, That this acl: 1hall be read Acl: to be
             at the head of ,each company in the fevcral regime11ts read, &c.
             in this State, at lea11 once every year.
                       This ad palfed December 28, 1792.




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            EXHIBIT "9"




                                  EXHIBIT 9
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           824                   ACTS of the GE 1V ER AL ASS E .MB Lr

                             which Sum ur S,1ms of Muncy, fo al1cffetl and collectctl, fhall he paid
                             into the Hands of the County Culh:ldr, who is hen:by n:1p1irL·1l tu
                             pay 1ut the fame, when rccdvctl for thl! Purpofe aforcfaid, in for.:h
                             Manu:r as tlw Juflices and a Majority of the chofon Frcdioldcrs !hall
                             dirccl; and if any Alfolfor or Ciilkclor !hall ncglCL'l or rl'fufe to per-
                             form any Duty, Matter or Thin~ r c11uin:d of hitn in th.is Acl, he
                             1hall he liable to the fame Fines ancl Penalties as is directed in and hy
                             an Acl:, intitkcl, ' An Acr to a/certain the Time and Mode of levy-
                             ' ing Taxes, and the better to enforce the ColleL'lion of the fame,'
                             paflcd at Burlington the fifth Da:y of June, Seventeen Hundred and
                             Eighty-fovcn, and in a Supplement to the fame, paficd at Pcrth--'\m-
                             boy, June the clcvcuth, Seventeen Hundred and Ninety; and the f~-
                             veral Officers in the faitl Acl: mentioned arc hereby required to per-
                             form the frvcral Duties on them enjoined un<le1· the fame Penalties as
                             in the faicl recitccl At1 and Supplement arc impofc<l, and Jhall be al-
                             lowed foch Rewards ancl Fees as they arc entitled to for alfdling and
                             collec1:ing Taxes raifod for the Ufr of the County.

           Junicc~ auJ          4. Ami he it further F.11.1.!lt'd b;• th,! A11thr.-ril_11 nfartfoid, Tlia_t the Jufiices
           F1l''-holdi:n:,   and a Majority of the cl10fon 1"rcchuldcn fhall be and they arc hereby
           th t1r Autho-
           rity.             authorized to purchafc a Lot or Lots on which to build, and to ap-
                             point Managers fur conduding the Building of fai<l Comt-Houfc and
                             Gaol at the Place appointed, and to take all fuch Meafurcs fur com-
                             pleting the fame, in the bell l'fanncr for the Good of fai<l County, as
                             to them ihall appear moll eligible; and that all Pcrfono, hy cheirOnlcr
                             entruflecl with any puhlick Money of the County, !hall be accouutahlc
                             to them for the Expenditure thercot~ iu foch Manner and at fuch Time
                             01· Times as they thall direct


           cuurtswhen         .'i· And be it furthL"r E1111flcd b)' the Authority ofanfi,itl, That the
           ~~:'.c~uartt~i,c Judges of the Inferior Court of Cunimon Pleas, anti Jufiices of the
           Hourc.           General ~arter Seffions of the Peace, in and for the fai<l Countv,
                             fhall hold their refpccl:ive Courts in the faid Court-Houle, fo foon ;IS
                             the fame {hall be ready and fit; and all Writs, Proccfs and other
                             Proceedings, depending or made 1·eturnablc thereto, fhall be valid iu all
                             Rcfpecl.s, any Law or CuHom to the contrary notwithfiaucling.

                             A                  Paflc<l at Trenton, November 30, 1792.
                                  -------- -----· -··· .. . . .. . -------- --
                                                          C B A P.         ·CC{~C-XUI.

                             An A C T for organizing and training the Militia of tbi;
                                                                      State.
            Jnfanlr1 and
            ;~~,1~.c.~:;
                             Sefl. I,   BE   IT ENACTED h;• the Co,mcil andCe11era/ .djfemhly oJ.lhis
                                           State, t1/III it ii btreb.l' E11aclcd bl the Authority of tl.Je/ame,
            be formed.        That all fuch of the Militia iii the refj1ecl:1ve Counties of th.is State
                                                                                             1
                              at incline to forin·d1em1elves into Companies of Light lnfaotr;·_Grc-.
                              naCiiets, Horfc" · and Artillery, and to drefs themfelves .in :iufurm
                              Regib1cntals, :fhall · have full Power to .form Companies- 1of 'l,ght In-
                              fantry a\1d Grenadiers of fixty-four Men each, and of Hori and Ar-
                              tillery of forty-eight Men each, and ,vhen fo formed ·to pVe Notice ·
                                                                                                                    to



                                                         EXHIBIT 9
                                                           0151
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                            of tbe S TA T E of N E Tr - J E R S E r.
                                                                                         I
              to the Commiffiouer h erein after <lirecled to be appointed for each
              County to attend, an<l in hia l'refence to choofe one Captain, one
              Lieutenant ancl one Enfign for e.tch Company of Infantry and Grena-
              diers ; one Captain, ouc Lieutenant and one Cornet for each Troop
              of I-lorfc; and one Captain and two Lieutenants for each Company of
              Artillery; upon which Choice being fo ma.de, the faid Commiffion-
              er in each County !hall give his Certificate, certifying the Completion
              of foch Company, and the Names of the Officers chofon for the fame
              direcl:cd to the Commander in Chief of this State, who /hall there-
              upon conuniilion the faid Officers accordingly.        PrQviJ,:J always, Prov,fo.
              That all foch Companies fhall be completed on or before the firil
              Daf' of Jumary next; a11d provided a!fo, that not more than two
              Companies of Infantry or Grenadiers be formed in one of the prcfent
              Regiments, nor more than one Troop of H<trfo in one of the prefent
              Regi1ncnts, nor more than eight Companie~ of Artillery in this State.

                   A11,I IN: ii J11r//Jcr E11,1t'hd by the A11lho,-il) 1ifonfi1id, That the faid 11°"."tohe
                    2.                                                   1

                      . to
              Comra111cs    . formt.:l
                                 .      I 11la II I)(! t·\ll'lll. 1IIIC J an.·<l cqu1ppc
                                                                                    •. d as IS
                                                                                            · d'ireue
                                                                                                   n. d equipped,
              by the Ml of Congrcls for reglilatint~ the Militia of the United States;                            '
              and, befi<lcs their voluntary Trainings for Improvement in the mi-
              lit:u-y Art, !hall be fohjccl: to the fame Duties prefcribcd by Law for
              , · ..: other Militia of the State. ·

                    3. Bi: it E11aBul by the A11th1J,.ilJ afarf/aid, That, in Order to orga- Commi~on-
                                                            1


                     the Remainder of the lVlilitia, the following Perfons be, and they craappomtc
               .. , ,'.1!
               ; re hereby appointed Commiilioncrs, that is to fay,

                            John Outwater, Efquirc, for the County of Bergen.
                            Benjamin Williamfon, Efr1uirc, for the County of Elfex.
                            Ellis Cook, E!quire, for the .County of Morris;
                            Anthony-Walton White, Efquire, for the County of Middlefex1
                            John Har<lenbergh, E!quire, for the County of Somerfet.
                            Afher· Holmes, Efcp1ire, for the County of Monmouth.
                            Thomas Reading, Eilp1ire, for the Cow1ty of Hunterdon,
                            John Armllrong, Eti.1uire, for the County of Sulfex.
                            Richard Cox, Elquirc, for the County of Burlington.
                            Samuel Hmigan, Efquire, for the County of G)oucefl:er,
                            Bateman Loyd, t:fquirc, for the County of Salem.
                            Jofoph Buck, Efqu"irc, for the County of Cumberland; and
                            Eli To,wnfcnd, Efr1uirc, for the County of Cape-May.

                Anl ;,1 Cafe of Death, Ncglccl: or Refnfal, of foch Commiffioner or
                ( !orimiffioncrH, the Governor for the Time being fhall fill up foch
                Vacmcy or V.1cancics by Appointment umle1· his Hanel and Seal.

                    4. 11,ul b.: ii fm ·tber E''1al1ttl, 'fhat due f.~id Comn:iffioners il1aU fo- to .,11point
                 Yc rall _! appoint one. Deputy in each Town01 ip in tbc       Co'unt, in which Drpulies :
                .tlu: ;c appointed,       to   take a L ifi of all and every free arul able-bo-
                died white M ale .~:itizen , between the Ages Qt dghtccn and farty--five
                 J t:ars, 1::fi<!ent w~.d 1in-thetr i·dpc~i.\'c Townfhips, and not before form-
                 ed into the Companies before mentioned, on or before the twentieth
                 Day of January next; and in all Cafcs of Doubt rdj1ccling the Age
                 of any Pcrfou, the fai<l Pcrfon ilrnll prove his Age to the Satisfaction
                 of the faid Commiilioncr or Deputy, .or be entered on the fai<l Lift•.
                                                         M                                S• .Allil

                                                 EXHIBIT 9
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             826               ACTS of the GE NE R AL ASS EM BL r

             'fbclr Duty.        5. Ami be it ji1rther E11afled, That all fuch· Citizens fo enrolled mi
                              aforcfaid, who {hall dcfire to be exempt from military Duty, may at
                              the Time of taking the Lifts aforefaid by the fa.id Deputies, or before
                             the twenty~fifth Day of January next, give Notice thereof to the faicl
                             Deputy of the Townihip to which they belong, who fhatl 111ark and
                             difiingt1ifh the fame on the faid Lin, ancl all others on the faid Lins
                             fhall be enrolled, deemed and efteemecl a Part of the Militih of this
                             ~t:i~r.: and the faid Deputies £hall make Retums there6f·to ~he Com-
                             miffionel' of the County before the fo,ft Day of February next, Pro-.
                             vitlcd a/,ways, That faid Deputies fhall in Pcrfon call at the ufual Dwell..
                             ing-Houfo of each Citizen within the Ages aforcfaid in thch· refpcclive
                             Town{hips, and if any fuch Citizen ihall be abfont from I~ome~ fo
                             that bis Election cannot at that Time be known, fuch Deputy fhaU
                             leave at the Dwelling-Houfe of fuch Citizen a written Notice, fignify-
                             ing that unlefs he fuall inform faid Deputy of his Election on ol' be-
                             fore the aforefaid twenty-fifth Day of January 11cxt, he fhall be en-
                             i-olled ancl coufi<lered as one of the Militia of this State.
            Books to be        6, And 6e it ji1rtber E11af/cd, Thnt the :faicl Commiffioners ihall pro-
            f{~~~~e:iib~ cure Books, and ihall caufo the Returns of the faid Deputies to be
            entered, «c. entered therein, and fhall make out Copies of the Lifts of the Names
                            of all Exempts within their County, and £hall tmnfinit one of the faid
                            Copies to the Cot1nty Collccl:or, and the other to the Treafurer of this
                            State, and £hall alfo make and tranfinit a Lift of the Exempts of each
                            Townfitip to the Townfuip Collectors within the faid County, and a
                            Lift of all the Militia e1uolled within their Cotmty to the Governor
                            of this State, nt ol' befon~ the firft Day of the next Sitting of the Le~
                            gifiature.                                 ·        ·               ·
            Pcrrons CX•     7. And be it jiwthcr Enacled,, 'That every Perfon exempted as afore-
            empted, ex-
            cept, &c,    faid from perfonal Se1·vicc in the Militia· (except Miniftcrs of the
                         Gofpel, the Vice-Prefideot of the United Sta~es, the Officers Judicial
                         and Executive of the Government of the United States, the Mem-
                         bers of both Houfos of Congrefs and their refpcdive Officers, all Cuf-
                         tom-Houfc Officers with tl1eir Clerks, all I>oft. Officers and Stage Dri-
                         vers who arc employed in the Care and Conveyance of the Mail of the
                         PoO:.-Office of the United States, all I•'crrymen employed at any Ferry
                        on the PoO:.-Roacl, all Iufi,1ed:ors of Exports, a.ll Pilots, all· Mariners ac-
                         tually employed it1 the s,~a Service of any Citizen 01· Merchant within
            whattopny, the United States) ihall pay an annual Tax of Three Dalla.rs:. And the
                        faid Townfhip Collectors {hall coiled the fame at the fame Time, and in
                        the fame Manner as the Taxes of the fame Ycar ; and {hall alfo in Jikc
             \
        i               Manner pay the fame when collected to the County Collecl:or, to bi: by
                        l1im paid to the Treaforer of the State: And the. faid Townfuip aud
                        County Collector~ and Conftables fhall receive the fame Fe-es, and be
         I              fubjecl: to the (·me Pains nnd Penalties, as they are or fhall be e1titld
        /               unto or fubjccted to by the Tax-Lawu of this State; and the Trcafurer
           'trenfurer's of the State fltall caufe an annual Return of all the Monies 1·tceived
           Duty.        ?n the faid Tax to be laid before the Lcgiflature at their firft Sitti~g_
                        ineve~·yYear.                                                ''          · :··.-':-*•
                                                                                         I                 \:



            111mt1~, how
            1
                              8. A11d be it further E11aflcd, That all Citizens enrolled as aforcfai<l,
                b~ divided, for inilitary Duty,  fhall be dividP.d into Companies of; as neat· as may
                            be, fixty-fo1.1r Men each, and into Datta.lions and Regimei1ts, by the
                              .                                                                   faid

                                                     EXHIBIT 9
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                  of the S TA TE of N E Ir - J E R S E r.                                        82 .. ,

          faid Commiffioners, each Battalion to confiH, as llear as may be, of five
           Comp:inics of :Foot, of whiob, Battalions and Regiments tht: faid Com-
           miffioners fhall make accurate Returns to the Cotnmander in Chief of
           this State, on or before the. fecond Weck of the next Sitting of the Le-
           gifiatul'e., tp,he.by him laid before the faid Legillature; and the faicl
           Commiffio'IJiel', or tho Deputy of the TowniMp if required by the faicl
         .Cormni0).one1·, having given duo Notice by Advcrtifome11ts in three of
          the mo(\; publick Places within the Limits of :!heh Company, {hall at-
          tend and pr~fi<le at the Elecl:ion for the Choice of Office1·s ; and the faid
          Company, or fuch of them as £hall attend, f hnll proceed by Plm·ality of
          Votes to choofc one C~ptain, one Lieutenant and one Enfign ; and the
          faid, Commiflionet· {hall certify in Writing the Names and Rank of
         !cac!h Officer fo chofon or clecl:ed to the Govprnor of the State, and the
          Governor of the State fhall commiffion tf1e faid Officers accordiiig]y om~cra, ho\'l
          undel' the Seal of the State,; and the faid Captains and Suba]tcms ~~int~d.np-
          ifo1ll chqofe or appoint theil' Sergeants, .Corporalo, D1·umme1·s, Fifers
          01· Buglers.

             9. 41td· be it /urlher Euallcd, 'rhat the commiffionctl Officers of Mufick, how
                                                 or
          each Company ll1all procut·~ Fifes Bugle-Horns and Drums for their procured,
          refpecl:i:ve Companies, to be pai~ ,for by the County ColJecl:or out. of
          any publick Monies in. his Hands, upon Orders of the Commiffioner          .
         .of the County•

           .. 10• .And he it further EnaElcd, That, aftel' the l1ormation of the Mi- Mlllt!a, wl,cn
          Htia {hall have taken Place in Pui·fuance of this Law, the Militia of to allcm e.
          this State {haU affemble three Times in every Year at leaO:, in fuel..
          Manner, Time and Place as theh- refJ.1ccl:i ve Captains £hall order, until
          otherwifo directed by Law.
              I I, .And be it Jurlber E"acled; Tl1nt every Perfon enrolled in the Mi... Pei ally for
         1   . f t lua
         1.1t11io    . State fl1a11 a ttend ."le
                                              ' Company an d ot11e1:, T,rammgs
                                                                          . • ordered Duty,
                                                                                        not att~ndins
         by-Law i al)d ~f any fu~h Perfon fhall neglec\: or 1·eftfe ~<? attend with.
         a Mufquet~ Ri:fle or Fll'cfock, and ,,o fuillcient Excufe be .made to the
         OffiG_cr11 .of the Com,pnny for fuch Ncg'l-.cl; or Refufal witliin ten Days
         after fuel). Default, t;hen the Captain or ClJrrimanding · Officer of foch
         Company {1-iall make.a Retum of all fuch Defa"'lters to one of the Jufii..
         ces efthe.Peace witbin the County, who fhall Hfue <i.n Execution to the
         Conftabl~ againft fuch Defaulters fat· the Sum of Se,.,,.n Shillings an~
         SixMpence each, together with t~1e Cofl:s of fuch Execut½n; and the
         faid·Couftab]e is hereby dii·ccl:ed to pay the faid Money w-he11 '!ollccl:ed
         to the faid Juftice, who is to pay the fame to the County Collecl:~ and
         by him to be paid to the T.l'cafore1· of the State.

            , ,l.i, And be -it further E11acl_ed by the Authority .afotifaid, Tl~at · the ~~lll;;;mon•
         !fi(~d Commi{4oncrs {hall fcverally be allowed, wlul~ employed m per-                   cu,
         . fo.1·ming the Ser,vi~e_s;~·equil'~d by this Act, Twelve SliHli~~ per D~y;
         ..and,: tht: faid PeP,-gtJ~s :foverallr Four-pence per Name fol,evcry Name
         -,entered on t~~!r1Jaj~,.L~£1:, to b~ pa}d to them by thc_C9U~~ors of th~
           feverul Counties, or Treaforer of the State, 011 Accounts regularly
           mac.le out t\ll<l fworn to by the faid Commiffioners or Deputies;· and
            the fai<l Acc<lunts an~l Receipts of fuch Commiffi9ne1·s and Deputies
            fhall be fofficient Vouchers to fuch Collecl:ot·s and Treafure1: Pi 1r tt'
            much of thP. tmhHr.k MonP.V HR {h:ilLh~ naid bv them for b P,i



                                                 EXHIBIT 9
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                           A C T S qf the G E NE R AL A SSE Iv.I. B L r

            Appeal nl•       13• ./l11d be it ·furthl'r E11aclcd, That <;very Perfon taxed by Vir~
            lowed.        tue of this Acl: may appeal to the Commiffioners of Aripeal 0f the
                          Town01ip in which they rcfide, in Cafes where Doubts arifc l'c{jlccl:ing
                          the Age or Ability of Dody of foch Pcrfon to do military Duty;
                          and the fai<l Commiflioners of Appeals arc hereby authorized to iffuc
                          Subprenas, adminifl:er Oaths or Aflfrmations, and to hear and de-
                          termine fitch Appeals; nnd the faid Commiilioncrs· {hall give.a Co-
                          py of their Judgment to the Appelln.nt if in his fovour, and the Col-
                          lector of {heh Town{bip ihall govern himfclf accordingly; but in
                          Cafe fuch Appeal fhould be determined againil: the Appellant, then
                           the Coils thereof :£hall be paid by the fa.id Appellant.

            Penalty on       14. And be it further E11t1cfol, That the faicl Commifiioners ancl
            ~~~c~:':.~ir. Deputies, who :£hall be appointed by Virtue of this Act, and accept
            Drputies for thereof, who fliall neg-lccl: <)1' rcfufo to perform the Services and Du-
            Ncgtea.       tics required he1·eby, ihall forfeit and pay the Sum of Twelve Poimds,
                          to be profccutcd for and l'ccovcl'Ctl in an Action of Debt, with CoO:s
                          of Suit, by the Collecl:or of the County in which fuch Commifli-
                          oner or Depl'lty fhall rcfidc, to nnd for the Ufe of the State;
            J.lormerLaw      15. And be it ,fi,rther E11aElcd, That from and ·after the puffing of
            repealed,
                          this Acl:, the Militia L.iws now in Force in this State be, and they
                          are hereby repealed; and all military Commiflions heretofore granted
                          by Virtue of the fame £hall be, and they arc hereby declared null and
                          void.                                                      ·

                          A               Palfed at Tl'Cl1ton, Novembe1· 30, 1792.


                                                  C H A P. CCCCXl\T,

                                    An ACT for defrayi11g Incidental Charges,
            Ena&inr:
            Claufc,
                          BE       IT EN ACTllD by the ~tmci! and Gc11cral Ajfcmb!y of this Stale,
                                 and it i.r hcrebJ• Em1Rcd ~I' the ./luthority ef the fame, That it
                          :£hall ancl may be lawltll for the Trcafurer of this State, and he is
                          hereby required tr pay to the foveral Pedons herein after named the
                          following Sum.o, to wit,

                             To Ah1·aham Blauvelt, for advertifing Court of Errors, publHhing
                          a Lill. of Candidates for Rcprefcntatives iu Congrefs, and pub!Hhing
                          :1 Pl'Oclamation, Two Pounds Six Shillings.

                             To William Harriman, for keeping a Man and Horfc for Exprefs
                          fix Weeki, and fom Days, Three Pounds Twelve Shillings.

                            To his E,-cellency William Paterfon, for Cafh paid John Dunham
                          and Peter N 11fow for going Exprcfs with the Lift of the Names of
                          Candidates, ptopofod to be voted for as Reprefontative·s in Congrefs
                          to the foveral &hcriHs in this State, Twelve Pounds.                •

                          "' TQ James Mott, Eiquil'C,for Cafh paid for Wmpping Paper, Pofiage of
                             · . s, · d-'hmdrics, as pc1· Acco'.mt, Eight Pound$ Fourteen Shillings.
                                                                                                 To

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                                                  0155
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            EXHIBIT "10"




                                 EXHIBIT 10
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            440                                   LAWS OF NEW YORK.                          [CHAI', 45.



                                                     CIIAP. 4.5.
                                   AN ACT to organize the militia of this State,
                                                                        PASSED the 9th o{ March, 1793.

            Pronmblo,      WHEREAS, by the constitution of the United Strrtes, the Congress has
                        power to provide for organizing, rrrming and disciplining the militia rind
                        for governing such prrrt of them, as may be employed in the servi~e of
                        the United States, reserving to the States respectively, the appointment
                        of the officers, and the rruthority of training the militia, according to the
                        discipline prescribed by Congress,
            Aot or         And wl,ereas, the Congress did on tl1c eighth day of l\!ay one thousand
            Coosroes.   seven hundred and ninety two, pa5s an act entitled "An act more
                        effectually to provide for the nrrtional defence by establishing an uniform
                        militirt throughout the United Stales, which act is in the word~ following,
                        vizt. Be ii enaclcil bJ Ilic Sena/I! and II,,11u of Rrprtsmlalfrcs of Ilic Unil,·d
                                              1


                        States of America, in Congress asscmbkd, That each and c,•cry free, ah!c
                        bodied white male, citizen of the respective States, n:sident thcicin, \1:h g
                        is or shall be, of the age of eighteen years, and Hnder the age of fo rty fil'c
                        years (except as is herein after elicepted), shall severally and respecti1·cly
                        be enrolled, in the militia by the captain or commanding office r 01 the
                        cmnp:my, within whose bounds such c itizen slrnll reside, and that within
                        tweh-c months after the pas&ing of this act. And it shall at all times
                        hercrrfter be the duty, of e\'cry such captain or commanding officer of a
                        company, to enrol every such citi~en as aforesaid, and abo thoae who
                        shall, from time to time, arive at the age of eighteen years, or being of
                        the age of eighteen years, and under the age of forty five years, (except
                        as before excepted) shall come to reside within his bounds; and shall
                        without delay, notify such citi1.en of the !.aid enrolment, by a. proper non-
                        comrnir,sioned officer of the company, by whom such notice may be
                        proved. That every citizen so enrolled and notified, shall within ~ix
                        months thereafter, provide himself with a good musket or firclock n
                        sufficient bayonet and belt, two spare Oint~, and a knap,;ack, a. pouch
                        with a box therein, to contain not lt:!ts than twenty four cartridges, suited
                        to the bore of his musket or firelock, each cartridge to contain a proper
                        quantity of powder and ball: Or with a good rifle, knapsack, shot pouch
                        and powder horn, twenty balls ,uited to the hore of his rifle, and a quarter
                        of a pound of powder, and shall appear so armed, accoutred and pro-
                        vided, when called out to exercise, or into Sl'n·ice, except that, when
                        called out on company days to exercise only, he may appear without n
                        knapsack. That the commissioned officers shall severally be armed with
                        n sword, or hanger and espontoon, and that from nnd after five years
                        from the pa,;sing of this act, all muskets for arming the militia as herein
                        required, shall be of bores sufficient for balls of the eighteenth part of a
                        pound. And every citizen so enrolled, nnd providing himself with the
                        arms, ammunition and accoutrmnents required as aforesaid, shall hold
                        the same exempted from all snits, distresses, executions or sales, for
                        debt or for the payment of t:i.xcs. And bi: it f11rt/1er cnaclcd, That the
                        vice president of the United State, the officers judicial and executive
                        of the government of the United States; the members of both houses of
                        Congress, and their respective officers; all custom house officers, with
                        their clerks; all post officers and stage drivers, who are employed in the
                        care and conveyance of the mail of the post office of the United
                        States; all ferrymen employed at any ferry on the post road, all inspec·




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             CHAP, 45,]               SIXTEENTH SESSION,                                         441
               tors of exports, nil pilots, nll mnriners, nctunlly e ,1ployed in the sen ser-
               vice of nny citizeR or merchnnt within the United Stntes; and all per-
               sons who now are or mny hereafter be exempted by the laws of the
               respective Stntes, shall be, nnd nre hereby exempted from militia duty,
               notwithstanding their being nbove the age of eighteen, and under the
               a11e of forty five years, A111l be ii /11rt/1cr enacted, That within one
               y~ar after the passing of this net, the militia of the respective States
               shall be arranged into divisions, brigades, regiments, bnttnllions, nnd
               companies, ns the lcgislnture of each State !,hnll direct, and each divi-
              sion, brigade nnd regiment, &hall be numbered, nt the formation thereof,
               nnd a record made of such numbers, in the ndjutnnt general's office in
               the State, and when in the field or in service in the State, each division,
               brigncle and regiment shall respectively take rnnk, according lo their
               numbers, reckoning the first or lowest number, highest in nmk, That
              if the !,ame be convenient, each brigade shall comi,t of four regiments,
              each regiment of two battalion, ench battalion, of five compnnic~, each
              company of sixty four pri\'ates; that the said militia. hhall he officered
              by the respective States, aq follows; to each divh,ion, one major general
               nnd two aids-de-cumpq, with the rank of major; to each hriguclc, one
               brigadier general with one brigade ini,pector, to serve also as a. brigade
              major, with the rank of a major; to cnch regiment, one lieutenant col·
              one! commandant, nnd to each battallion one major, to each com-
              pany one captain, one lieutenant, one ensign, four !,crjeants, four
              corporals, one drummer nnd one fifer or bugler; that there hhall be a
              regimental staff to consist of one adjutant and one quartel' ma~tcr to
              rank ns lieutenants, one pay mnstcl', one surgeon and one surgeon's
              mate, one sergeant m.1jor, one c.lrum-major, nnd one fife major. And be
             ii ji,rth,·r ,·11adl'll, That out of the militia emollcd, as i~ herdn c.lirectcd,
              there bhnll be formed for each battallion, at least one company of gren-
             adier~, light infantry or iit1e1w"1, and that to each divi~ion, there shall
             be. at lea~t one comp:m)' of tLrtillcry, and one troop of horse; there
             shall be to each company of artillery, one captain, two lieutenants, four
             sergeants, four corporals six gunners, six boumbardicrs, one drummer
             and one fifer. The office·s to he armed with a swonl or hnnger, a fusee,
             bayonet anc.l belt, with a cartridge box to contain twelve cartridges, and
             each private or matross hhall furni,h himself, with all the equipments of
             a private in the infantry, \lntil proper ordnance nnd field artillery is
             provided, There shall be to each troop of horses; one captain, two
             lieutenants, one comet, four sergeants, four corporal'l, one sadlcr, one
             farrier, and one. trumpeter; the commis,ioned officers lo furnish them•
            sel\'cs with good horseq, of at least fourteen hand,; and a half high, and
             to be armed with n. sword and n. pair of pistol:;, the hobtcrs of which to
            be covered with hcar<.Jldn caps, each dragoon to furnish himself with n
            serviceable hot be, al )er ~t fourteen hands and an half high, n. good sad-
            dle, bridle, mailpillion r-.nd valise, holsters and n breastplate nnd crup·
            per, a pair of boots uncl spms, n pair of pistols, n. saber nnd a cnrtouch
            box, to contain twelve cartridge~ for pbtols, That each company of
            artillery and troop of horse, shall be formed of volunticrs from the brig-
            ade, nt the discretion of the commander in chief of the State, not ex-
            ceeding one company of each to n regiment, nor more·in number, than
            one eleventh part of the infantry, nncl &hall be uniformly cloathed in
            regimental,;, to be furnished at their own expence, the colour and fash-
            ion to he determined by the brigadier commnndir1~ the brigade to which
            they belong, And be t't further e11actcd, That each bnttnllio11 and regi-
            ment shall be provided with the State and regimental colours by the
            field officers, nncl each company with a drum and fife or bugle hom by
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                  the commissioned officers of the compnny, in such manner, as the Iegis.
                  lnture of the rrspective States shall direct. And be it f111·tl1er enacted.
                  That there shall be Oil adjutant general appointed in ench State, whos;
                  duty it shall be to distribute all orders from the cominan<ler in chief of
                  the State, to the several corps, to attend nil public reviews, when the com-
                  mander in chief of the State shall review the militia or any part thereof
                  to obey all orders from him, relative to carrying into execution and per:
                  fecting the system of militnry discipline established by this net, to fur-
                  nish blank forms of different returns, that mny be required, nnd to explain
                  the principles on which they should be mnde, to receive from the several
                  officers of the different corps throughout the State, returns of the militia.
                  under their command, reporting the actual situation of their arms, nc-
                  coutruments and ammunition, their delinquencies, and every other
                  thing, which relates to the general advancement of good mder nnd dis-
                 cipline: All which the several officers of the divisions, brigades, regi-
                 ments and battalions nre hereby required to make it1 the usual mam1cr, so
                 that the said adjutant general, may be duly furnished therewith; from all
                 which returns, he shall make proper ab~tracts, nncl lay the same
                 annually before the commander in chief of the Stnte. And be it fur-
                 ther e11acll't!, That the rules of discipline approved nnd Cf>tnlili&hcd by
                 Congress, in their resolution of the twenty ninth of l\larch one thousand
                 seven hundred n11cl seventy nine, shall be the rules of discipline, to be
                 observed by the militia throughout the United States, except such devi-
                 ations from the said rules, ns may Le rendered necessary by the requisi-
                 tions of this net, or by some other unavoidable circumstances; it shall
                 be the duty of the commanding officer of e,·cry muster, whether by hat-
                 tallion, regiment or single company, to cause the militia to be exercised
                 and trained agreeably to the &aid mies of discipline. And be it fur/ho
                 e11actttl, That all commis~ioned officers !>hall take rnnk, according to the
                 date of their commi~sions, nnd when two of the same grade, bear an
                 equal date, then their rank to be determined by lot, to lie drnwn by
                 them, before the commanding officer of the brigade, regiment, batallion,
                 company or detachment. Anti bt it furllw· t!llaclcd, That if nny person,
                 whether officer or sole.lier, belonging to the militia of any Stnte, and
                 called out into the service of the United States, be wounded or dis-
                 abled while in actual service he !.hall be taken care of, nnd provided
                 for at the pnblic ex pence. A 11tl /le it furl/ur e11actetl, That it slinll
                 be the duty ot' the lJI igade inbpcctor to attend the regimental and
                 hattallion meetings of the militia, compoi,ing their several brigades dur-
                 ing the time of their being under arms to inspect their arms, nmmu-
                 11itio11 and accoutrnments, superintend their exercise and mnnreuvre,
                 nnd introduce the system of military discipline before described through-
                 out the brigage, agreeable to law, and such orders ns they !>hall from time
                 to time receive, from the c.ommandcr in chief of the State, to make t eturns
                 to the adjutant general of the State, at least once in every year, of the
                 militia, of the brigade to which he i.Jclongs, reporting therein the actual
                 situation of the arms, nccoutrnmcnts nnd ammunition of the se\'eral
                 corps, and cv y other thing, which in his judgment, may relate to their
                 government and the general advnncc111cnt of good order and military
                 discipline, and the adjutant general &hall make a return of all the militia
                 of the State, to the commander 111 chief of the snicl State and n dupli-
                 cate of the snmc, to the President of the United States. And 111hereas,
                 sundry corps of artillery, cavalry nnd infantry, now exist in several of
                 the said Stales which, by the laws, customs or usages thereof, have not
                 been incorporated with, or subjected to the general regulations of the
                 militia. JJe it further e11acled, That such corps retain their accustomed




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              privileges, subject neve1'thcless, to nil other duties required by this net,
              m like manner with the other militia,"
                A111I 1eihcrcas, tho reservations contained in the sai<l constitution, rela-
             tive to the militia. of the States respectively, render it neeessarv, that
             provision should be made in the premises by the legislature of thi~ Stnte,
             Therefore,
                Be ii enacted by l/1e People Cl/ /he St,ele of New YC1rk represe11kd in Arrnngo,
              Se11ale and Ammbly, That the militia of this State, &hall be arranged into tr.:•~t~fo
             four divisions, and that each division shall comprehend one of the great mllltln,
             districts of this State, in each of which districts, n major general shnll
             be appointed, and each division &hall be formed into us many brigades,
             and each brigatle into as many regiments, and each regiment, into as
             many companies, as the commander in chief of the militia of this State
             for the time being, shall in his discretion, from time to time deem meet
             and proper, and bhall also order, that at least one company of artillery,
             and one troop of horse, be formed from every brigade, or from such of
             them, as he shall direct and require; and nil returns from the militin
            corps respectively, shall be ma<le out and transmitted, in such manner,
            nnd at such time, as the said commander in chief, shall from time to
             time direct nnd require.
                Al/II be it further c11aclcd, 'l'hnt the militia of thiB State, shall rundcz- nen<le1:•
            vous three tunes in every year, for the purpo~e of training, disciplining vous,
            and improving in martial exercibe, twice by companies within their
            respective beats, and once by regiments, except as is hereit\ after
            excepted. And thnt each brigadier general bhall appoint the regimental
            parades, nt such time and pince as he may think proper, as nearly cen-
            tral as may be, within each of the respective regiments; that the time
            nnd pince of the rendezvous for the companies shall be appointed by
            the colonel or commanding officer of the regiment, and arranged on
            different days, that the field and staff officers may have an opportunity
            of attending the several companies exercised in detail, in. order to intro-
            duce uniformity in the manoouvres and discipline of the regiment, That
            the artillery company and troop of horse, belonging lo each divbion
           or brigade, shall meet nt such times and plnces a~ shall be appointed
            for that purpose by the major general or commanding officer of the
           divibion.
                Al/II be it fur/her cnackd, That n court martial shall consist of thir- Oonrts--
           tcen commissioned officers, who shall appoint their own judge advocate, murtlal,
           which judge advocate shall, tender to each member, nn<l each member
            is hereby required to take the following oath; "You do swear, that you
           wilt well and truly, try and determine, according to evidence, the mat-
           ter now depending between the people of the State of New York and
           the person and persons to be tried, and you do further swear that you
           will not divulge the sentence of the court, until the same shall be
           approved or disapproved, pursuant to the net entitled "An ncl to organ-
           ize the militin of this !:Hate, neither will you upon any account, al any
           time whatsoever, dihelose or discover, the vote or opinion of any partic-
           ular member of the court martini, unless required to give evidence
           thereof, by ::t court of justice inn due course of law, so help you Got!."
           And the president is hereby authorized to tender to the Judge advocate,
           who is hereby enjoined to take the following oath. You do swear
           swear, that you will not upon any account, or at any time whatsoever,
           disclose or discover, the vote or opinion of any particular member of
           the court martial, unless required to give evidence thereof, as a witness
           by n court of justice in a due course of law, and that you will not
           divulge the sentence of this court until the same shall be approved or




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                                                  0161
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                                                LA \VS OF NEW YORK.                          [CHAP, 45,

                            disapproved, pursuant to the net entitled "An act to organize the militia
                            of this State II so help you God; nncl it shnll and may be lawful, for the
                            president of nny such court, after he shnll have received notice of Jiis
                            np~ointment, nnd he is hereby required 011 npplicntion to issue his pre-
                            cept directed to nny witness or witnesses lo he Mllllmone<l, commanding
                            his, her or their nltentlnnce, nt the time and pince appointed for such
                            court to set, to give evidence in behnlf of the people of this State or for
                            the person or persons to be tried (ns the cnse may be) nnd such witness
                            or witnesses being l,Ummoncd, nntl making default shall incur the like
                            fines nnd forfeitures ns nre inflicted on witnesses for their default, by the
                            ninth section of the net for the more speedy recovery of debts lo the
                            value of ten poun<IB, JHlh~e<l the seventeenth dny of April one thousand
                            thoui,an<I seven hundrcll nntl eighty seven; nnd the pre&idcnt of any
                            i,uch court martini hhnll he, und he is hereby impowcred to administer
                            the llhlh\l oath to hllch witncs&es us shall romc to give evidence to &ttch
                            court, during the time he hhnll be prl•l,itlent thereof, nnd that if uny offi-
                           cer shnll be mTcstcrl by virtue of this net, the charge &hall pnt ticularly
                           be set forth in w1 iting nn<l signed by the nrrc&ting olliccr, a copy
                           whereof shall be delivered to such ofticcr, so arrested or left at his usunl
                           place of abode within three <lars nfter such :u-reht, and the person so
                        · nrrcstc<I shall not be held to answer to nny matter whatever, not set
                           forth in 5urh chnrgc, that every rntnmis~ioned officer who shnll be con-
                          victed by n gc1wral court martini, of hn.ving rcfrn,cd 01· neglected to
                          perform any of the duties of his office, shall be punished nccording to
                           the nnture and <lcr;ree of hie; offence, nt the discretion of the said court,
                          either hy fine or removal from office.
            Proviso ns         J'rm•idcd, no fine shall exceed ten pounds for the first offence or fifty
            toll nos.     pound~ for any 1,ubscquent offence, nnd every such fine shall be levied
                          and collected by warrant under the hand and &en! of the officer having
                          instit11ted the court martial or in his abse11cc by the comnrnncling officer
                          of the division, if such court martini wns formed from the clh·ision or
                          by the commnnding officer of the h1ignde1 if Mtch court lllartinl wns
                          formed from the brigade, directed to any one adjutant of the brignJe
                          or person acting ns such to which such officer, on whom such fine is
                          imprn,cd mny belong, in like mnnner, ns the fineq hereinafter mentioned,
                          to be recovered of the non commissioned officers and privates for neg-
                         kc:t or rcfu~al of duty, That the proceedings nm! i,entcnce of every
                          court mnrlial, by which nny officer shall be removed ft om office, shall
                          be in writing, signed by the J)l'esident thereof, nnd 1,hnll by him be
                         delivered to the commanding officer of the did~io11 or brigade, ns the
                         ont: or the other mny have instituted the court martini, to be by him
                         transmitted to the c:ommnndcr in chief of this Stak, who 1,hnll approve
                         or disapprove of the same in orders, and that nil other proceeding~ and
                         sentences of comts martial, &hall also be in writing signed by the presi-
                         dent thereof, nnd by him be delivered to the commanding officer of the
                         divi&io11 or brigade, (ns the case may be) who shnll npp1ove or disap·
                         prove of the same in orders;
           Proviso ns         Pr01 1ltll'II, That no sentence of n court martial on a ge1u~rnl officer,
           to llOIIOtul shall
           omcors,                go farther than removal from office. That all sentences of courts
                         martial by which any officer shall be removed, nnd which shall be ap-
                         proved by the commander in chief of this State, shall by him from time
                         to time be laid before the council of appointment, to the end, that the
                         person administering the government of this State for the time being,
                         by and with their advice nnd consent mny appoint others inRtead of the
                         officers so removed from office.




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          ,.


               CHAP, 45.]           SIXTEENTH SESSION.                                           445
                And be t'I further e11acteil, That courts martial for the trial of general OourtR-
             officers, shall be ordered by the commander in chief of this Stale, and l:~~tlnt,
             shall consist of general nnd field officers taken from a roaster to be otdered,
             kept by the adjutant general for that purpose; that courts mar:;;hnl for
             the trial of field officers shall be ordered by the commanding officer of
             the division, and shall consh,t of commanding officers of brigades, field
            officers, and if requisite of captains, That courts martial for the trial
            of ofltcers below the rank of field officers, shall be ordered by the com-
            manding officer of the brigade, nnd shall consist of field officers and
            others of inferior rank. Thnt courts martial for the trial of non com-
            missioned officers nnd privates, shall be ordered by the commanding
            officer of the regiment, and sha)l consist of officers not of the rank of
            field officers. That roasters shall be kept by the proper officers from
            which such courts martial shall be formed. That the sentence of every
            comt martini shall be approved or di~approved by the officer having
            instituted the same, saving to the party tried, an appe(ll to the com-
            mander in chief to whom the sentence of every general court martial
            shnll be reported without dclnx,
               And bt! it /t1r//1cr c11aded, 1 hat every 11011 commissioned officer, who Ponnltlos
            shnll neglect to warn the men to appenr nt :tny rendezvous mentioned {:;1        ;f~~~~rll
            in this act, when theretmto required by hi-3 cnptain or commanding" hon
            officer without sufficient excuse, shall forfeit the sum of two pounds, wurnot'1
           That every 11011 commissioned officer or private, who shall neglect to
            nppenr when warned, in pursuance of this act without sufficient excuse,
           shall for every day he neglects to appear at the regimental or battalion
            rendezvous, forfeit the sum of sixteen shilling<;; nnd for every duy he
           neglects to appenr at the company parade, forfeit the sum of eight
           shillings, and if he shall not be nrmed nncl equipped according to the
           directions of this act, when so nppearing, without sufficient excuse, he
           shall for every deficiency, forfeit the sum of one shilling and appearing
           without a musket the sum of four shillings.
               Provided always, 'l'hat none of the fines afon•snid, or any other other* ProvlRo Ill!
           arising from offences in a regiment or company thereof, nny company i?ofi°!T 0•
           of artillery or troop of horse, other than for di5obedience of orders 11onnlt1os,
           under nrms, shall lie levied on any delinquent, until he shall have been
           summoned to appear before a board of officers, to be instituted as
           herein after directed, that he may shew cause why such fine should not
           be levied, and all fines which such board shall determine as proper to
           be exacted, shall be levied by warrant from the president of such board,
           to one or more sergeants or corporals of the regiment or company, to
           which the offender bclongq, whose duty it is hereby mnde to collect the
           same, by distress nnd sale of the goods and chattels of the offenders
           respectively. And it1 case any such defnullcr shall live with his fathe1
           or mother, or shall be then an apprentice or indented servant, the
           master or mistress, or f,l'11er or mother, (as the case may be) shall be
           liable to pay the said fine, with costs, and in default of payment the
           said sergeant or corporal shall levy the same upon the goods and chat~
           tels of such father or mother, or master or mistress, and all fines arising
           from any offences within any brigade, shall whe11 recovered be paid to
           such person, ns the commanding officer of the brigade shall appoint for
           the purpose, and as much thereof shall be appropriated by the order of
           the said commanding officer, as he shall think proper for the purchase
           of such colours, drums and fifes, for the different corps in the brigade,
           as may be requisite, and the residue, if any there be, for the purpose
                                            • i-;o 111 origln11l,




                                                  EXHIBIT 10
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           446                              LAWS OF NEW YORK.                          [CHAP, 45,
                        of purchasing such nrms, ns nre desi~nnted in the first section of the
                        net herein before recited, to be deposited ns the snid commanding offi-
                        cer shnll direct1 to be delivered in ~ase of invasion or insurrection to
                        such of the m11itin of the brigade, ns may be destitudc of arms, td be
                        returned whenever thereupon required, by the commanding officer of
                        the brigade, regiment or company, nnd in case any or either of the said
                        sergcnnts or corporals to whom such wnrrnnts shnll be directed as afore-
                        said, sh-ill neglect his duty in the premises, he shall for every such
                        neglect, forfeit the sum of twenty four shillings, to be levied and col-
                        lected in manner aforesaid, by n like wnrrnnt, which monies, when col-
                        lected, shall be paid and nproprinted in mmmer aforesaid, and that it
                        shall he the duty of the person receiving such fine~. once in every year
                        to render rm account to the brigadier or officer commanding the bri-
                        gade, of all his receipts and expenditures in pursuance of this act,
           Donr<ls lo       A11il be it further Mactd, 'l'hnt the commanding officer of a brigade
           lovy fines shall institute, as many boards of officers, each to consist of not less
           on delin-
           quents,      than three, nor more than five, as there nre rigiments in his brigade,
                        who shall, from time to time, convene nt such place, nnd nt such times
                        ns the commanding officer of the brigade shall direct. To the pre~i-
                        tlent of ench of which hoards, nil returns of delinquents from the corps
                        designated in the brigade orders shall he made, which prcbident shall
                        direct the delinquents on a day, and at a place certain, to be Mtmmoncd ·
                        to appear before the said board, and to shew cause why the fines
                        incurred by them should not be levied, nnd it shall be in the discretion
                        of such board, to cause the fines to he levied in manner aforesaid,
                        either in the whole or mitigated in their discretion or remitted, nnd for
                        such as the board shall direct to he levied, warrants shall issue in man-
                        ner herein before directed.
           Comman•          AJ11l be t'tf11rt/1er e11aclcd, That the commander in chief of this State
           tf!i':i~~~~r for the time being, may in case of invasion or other emergency, when
           out militia ht: shall judge it necessary, order out any proportion of the militia of
           l~v~:1~gc this State, to march to any part thereof, and continue as long as he may
           eto, ' think necessary, and likewise may, in consequence of an applicatio11
                        from the executive of any of the United States, on an invasion or insur-
                         rection, or an apprehension of an invasion of such State at his discre-
                         tion, order any number of the militia not exceeding one third pnrt
                         thereof to such State.
                            Proulded, That they he not compelled to conthrne on duty out of
                        this State, more than forty dnys at any one time; that while in actual
                        service in consequence of being so cnllcd out, they shall receive the
                         same l)ay nnd rations, and be subject to the same rules and rcgulatiol\s,
                         as the troops of the United States of America.
           Exemf·           Attcl be z'tjurther e11actctl1 That in addition to persons exempted from
           tlons
           militia \ militia duty by the law of the United States herein before recited, there
           duty,         shall he and hereby arc exempted by this act from such duty ns afore,
                        said, the following persons vizt. the licutcnnnt governor of this Stnte,
                        members of both houses of the legislature of this State, and thcii
                        respective officers, the chanccllor1 the chief justice, and other justice1
                        of the supreme court, judge of the court of probates ancl all other judi,
                         cinl officers of this State, secretary, treasurer, attorney general and nud
                         itor for this State, surveyor general, register and clerks of courts
                         sheriffs, coroners, constables and gnolnrs, two ferry men employed t,
                         cnch boat, the surrogates in the several counties, nil ministers an,
                         preachers of the gospel, physicians and surgeons, except in their severD
                         professions and callings, the professors, teachers and students in al
                         colleges and academies within this State, nil schoolmasters engaged fo




                                               EXHIBIT 10
                                                 0164
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          CHAI', 45.]             SIXTEENTH SESSION.                                           44-7
          at least three months, all post riders, the actual attendant of every grist
          mill, and all firemen belonging to com1,mnies now established, or which
          hereafter may be established by law within this plate, and also all per-
          sons actually employed as overseers, manufacturers and labourers at
          any fllrnace, forge, or bloomery for making iron, all such persons so
          employed at any furnace for making iron castings; all such persons so
          employed at any glass house, for making glass, during the time they are
          so actually employed notwithstanding their being above eighteen and
          under forty five years of age.
             A11,l bi: t'I j11rlhi:r e11a(led, That all persons being of the people called Quakers.
          Quakers, who would otherwise be subject to military duty, by virtue of
          this net, and who shall refuse personal military service, shall be exempted
          therefrom, on paying annually the sum of twenty four shillings each,
          (or such exemption, such sum to be assessed on each of them respect-
          ively, by the assessors, and collected by the collectors of the districts
          wherein they respectively reside, with the contingent charges of the
          county, and paid to the county treasurer, who shall pay the same into
          the treasury of this State, to be applied towards the support of the gov·
          ernment; and it is hereby made the duty of every captain of infantry,
          within three months, after he shall have received his commission, and
          yearly and every year thereafter on the first Tuesday in May in every
          year, Lo mnke a list of the names of all and every per~on and persons
          within his beat, who being of the people called Quakers, shall neglect
          or refuse personally to perform mihtary service, and deliver such list in
          the city of New York to the clerk of the said city, and in each of the
          other counties of this State, to the supervisors of the town, where such
          person or persons so neglecting or refusing to perform military service
          shatl respectively reside; and the clerk of the said city of New York
          shall forthwith after receiving such lists, deliver the same to the mo.yor,
          aldermen and commonalty of the said city, in common council con-
          vened; and the mayor, recorder and aldermen of the city of New York,
          or any three of them, in the said city, and the supervisors or n major
          part of them, of each of the otlwr counties of the State respectively,
          shall at their first meeting, after the delivery of such list~, cause tax lists
          to be made out, according to such lists so delivered, with warrants
          thereon, tmder their hands and sea)q, directed to the collector of the
          ward or town in which such persons named in such lists, respectively
          reside, for levying the sum of twenty four shillings of the goods and
          chattels of each of the persons named !it the same lists, and the said
          collectors are hereby respectively authorized and required, to demand
          and receive of each of the persons named in such tax list; the said sum
          of twenty four shillings, and in default of payment, such collector shaU
          levy the said sum of twenty four i.hillings, by distress and sale of the
          gom)q and chattels of thr. person so neglecting or refusing to pay the
          same, and in case any p ~,·son named in such tax list, shall be under age
          and live with his father or mother, slinll be then an apprentice or ser-
          vant, the master or mistress, or father or mother, as the case may be,
          shall be liable to pay the said sum of twenty four shillings, for such
          person &o under age; and in default of payment, the collector shall
          levy the same by distress, and the sale of the goods nnd chattels of such
          father or mother, master or mistress, and the said respective collectors,
          shall respectively pay the so.id monies, to the city or county treasurer,
          deducting their fees for collecting, on or before the first Monday in
          January in every year; and the county treasurers shall respectively pay
          the same to the treasurer of this State, deducting his fees for receiving
          the same, on or before the first Monday in March in every year, And




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             448                        LAWS OF NEW YORK,                                  [CHAP, 45;

                           the collectors and county treasurers, shall have the like fees for collect.
                           ing and receiving the smd monies, us they are respectively entitled to
                           for collecting and receiving the monies, raised for defraying the neccs'.
                           snry and co11tingcnt charges of the snid city or counties.
                              And wlicrc11s, frotn the dispersed situation of the inhabitants residing
                           within the counties of Otsego, 'l'iogn, Herkemer, Ontario and Clinton
                           they would he subject to great cxpcnce nncl difficulty, if they were
                           obhgcd to attend regimental parades. Therefore,
             llllllUfl of     lle ii furtlicr tnackcl, That it &hall and may be lawful for the militin
             oortflln
             counties, of the said counties of Otsego, Tioga, Herkemer, Ontario and Clinton
             ron<loz-
             ,·ous of.
                           to rendezvous by regiments or battalions, ns the mujo1· general or com-
                           manding officer of the di \'ision may direct.
             Ordering         And /Jc it furt/icr e11aclt'tl, That it shall nnd may be lawful to and for
             :\:li,~ffl hy any major general of n division or commanding officer of n bri~nde, or
             ronrnhnnd- commnndmg officer of a regiment, when and llS often as, any lllVnsion
                   01
               ng cors may happen, to onler out the militia. or any pnrl thereof, under their
                           respective commands for the defence of this State, giving notice of such
                           invasio11 and c,·ery circumstance attending the same, ns early ns possible
                           to their immediate commanding officer, by whom such information shall
                           be transmitted with the utmost expedition to the commander in chief of
                           this State. And that in cases of insurrections, the command in~ officer
                           of the regiment within the limits of which any such insurrection may
                           happen, shall immediately assemble his regiment under arms, and hav.
                           ing transmitted information thereof, to the commanding officer of the
                           brigade, and to the commander in chief of this State, shall proceed to
                           take Htch mensmcs to suppress such insurrection, ns to any three of the
                           judges or justices of the county, in which such insurrection shall hap-
                           pen, shall appear most proper and effectual. And i( any person be
                           wounded or disabled while in nctunl service o( this State, in opposing
                            any invasion or insurrection or in suppressing the same, he shall be taken
                            care of and provided (or nt the expence of this State.
                              Provldetl always, that if such judges or justices, shall deem a greater
                           number of militia requisite to quell such insurrection, they shnll and are
                           hereby required to apply for the same, to the commanding officer of the
                           division or any brigade thereof, who arc hereby severally required to
                            obey such requisition,
              PeMUlos         A11d be t'tf11r//1cr e11actcd, That every non commissioned officer and
                r:;
              ~o: 1~~tn private, who shall neglect or refuse to obey the orders of his superior
             oofteotlon officer while under arms, shall forfeit twenty shillings for every such
             of.           offence, and if any such 11011 commissioned officer or private. enrolled to
                           serve in. either of the companies mentioned in this net, shall refuse or
                           neglect to perform such military duty or c>.ercise, as he shall he required
                           to perform, or shall depart from his colours or gunrd, without the per·
                           mission of his superior officer as aforesaid, he shall forfeit the sum oC
                           twenty shilling<;, and for the 11011 payment thereof the offender shall be
                           committed to gaol, by warrant from the cnptnin or commanding officer
                           to the troop or co111pa11y then present, to which such offender doth
                           belong, there to be confined until the fines as aforesaid, together with
                           the gaolers fees are pa.id; nnd the respective sheriff~ of the respective
                           cities and counties of the State, nre hereby empowered and required to
                           receive the body ot· bodies of any offender or offenders, as shall be
                           brought to them by virtue of n warrant or warrants under the hand and
                           seal of any officer by virtue of this net, and him or them to keep in safe
                           custody, until such fines as are mentioned in such warrant, together.
                           with the gaolers fees as aforesaid, shall be paid or until the said offender
                            or offenders shall be discharged by due course of law; and the sheriffs




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              CllAl', 45,)              SIXTEENTH SESSION.                                                    449
              and gaolers respectiVt\ly shall be allowed the same fees as are allowed
              In other cases,
                     Prt1Viiled, that in case of a military guard, where a captain doth not
                  command in person a warrant granted by an inferior officer, who shalt
                  have the command of such gunrd, shall be of the same authoritp against
                  all offenders, as if such warrant had been issued by such captain.
                     A11d be ii further e11acli:,l, That from and after the first day of January Unltorme,
                 next the mifitary uniforms of this State shall be aq follows, that is to say, ~~n':l~rt to
                  gendrnt officers; dark blue coats, with buff facings, linings, collars and                  '
                  cuffs and }ellow buttons, with buff under cloaths, Regimental and staff
                 officers; dark blue coats, with white lining11, scarlet facings, collars and
                 cuffs, and yellow buttons with white under cloaths, Non commissioned
                 officers and privates of the granadier and light infantry companies; dark
                 blue coats, with white linings, scarlet facings, collars and cuffs, yellow
                 buttons and white under cloaths.
                    And bi: t'I furllter enacted, That it shall and may be lawful, to and Jd., In
                 for the major general or commanding officer of any division respe~tively, ~~~t~l~s.
                 in the counties of Montgomery, Otsego, 'I'10gn, Herkemer, Ontario and
                 Clinton, if he shall deem it expedient, to direct the light infi. ,try and
                 riflemen of such division, tu uniform themselves in rifle frocks and
                 over alls.
                    Alli/ be ii further i:11acted, That every commissioned officer, who shall AoceritM
                 from tune , to tune, bc appomte . d sIrnII repc,rt 111s
                                                                       , nccc ~tancc of tIrn offi cc nnoe c,r
                                                                                                      commie.
                                                      I                        1
              ' within ten days after having received notice th<>rcof, to such officer or alone,
                 officers, ns the commander in chief shnll from t\mc to time direct,
                    .;1,-rd be it further enacted, That all persons wlio have heretofore been Col'tnln
                 commissioned officers in the line of the army"! the United Stutes, and               ~'Ni: ~~-~
                 nil officers who have served in thr. militia of levies of this State, or in the 0t xom1•-'
                   ' ' ' or 1evies
                 n11htm            ' of any of tiie lJ nitec
                                                        ' l Sta tes, or m ' t I1e n11'I'1tta      ' 10118 c. 1'
                                                                                          • or Icv1cs
                 of the late colonr, of New York, shall be, and hereby are exempted from
                smmg in the militia of this State, any thing in this act to the contrary
                notwithstanding.
                    Provlded 11i:verll1cless, That if any such officer shall be commissioned
                in the militia, to a rank equal to that which he held in the said army,
                militia or levies, and shall refuse to accept such commission, such officer
                so refusing, without giving satisfactory reasons to the council of appoint-
                ment for such refusal, shall be liable to serve in the militia .
                   .And jmmlded also, thnt this exception shall not extend to any such
               persons being officers, who have gone over to, and joined the enemy in
                the late wnr.                                 ,
                   Prmildcd also, that no commissioned officer shall resign his comm is- Proviso na
               sion without first making application to the major general or commandM tf0 ~~~!uua-
               ing officer of the division to which he belongs, and stating his reasons
               in writing for the same, which resignation and reasons shall be trans-
               mitted by the snid commanding officer, to the commander in chief of
               the militia of this State, together with his opinion thereon, and in case
               any officer c;ends in his resignation to the commander in chief, and the
               same be accepted by the council of appointment, without having pursued
               the mode herein presci:bed, such officer shaii be liable to do duty in the
               militia as a private,                                             .
                   And l1i: it Jttrther enacted, That the officers of the militia under the exist- Proscut
               ingmilitia laws of this State, shall be, nl'd hereby are continued in their ~~h~1~~ied
               respective offices under this net, undl the person administering the gov-                        ·
              ernment of this State for the time being, and council of appointment
           ·, shall otherwise determine,
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                                                     0167
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            450                                    LAWS OF NEW YORK,                           [CHAP, 46,
            Aots
            re ponied,
                            And be it further enacted, That from and after the seventh day of
                         October next, the net entitled "An net to regulate the militia" pnsacd
                         the fourth day of April one thousand seven hundred and eighty six, nnd
                         the net entitled "An act to amend an net entitled "An net to regulate the
                         militia" passed the eighteenth day ~f April one thousand seven hundred
                         and eighty seven, and the thirty first section of nn net entitled "An act
                         directing the settlement of public accounts, nn<l for other purposes
                         therein mentioned" passed the twenty second day of March one thou-
                         sand seven hundred nud eighty eight, be and hereby aro repealed,



                                                     OIIAP. 46.
                         AN ACT concerning the settlement of lands, and for prolonging
                                    the time for payment of quit rents.
                                                                         PASSED tho 9th of l'lfnrch, 1793,
            Jnqutstd           .Be ii matted by the People of tltc Stale of New York, rcprm11/ed ,·,,
            f~~!tor· Sena/~ a111l Asselll1'/.J'i and ti is here/1)1 c11aclt11l by the 1111/horlty of the same
            nto     tllat That the secretary of this State for the time being, shall, and he is hereby
            l:~.3~1~r~      enjoined, as soon as conveniently mny be, after the first day of Jnnuary
            [g 1t{~~~t~to one thousand eight hundred and one, to make out an abstract of all lands
            lly non-        granted by letters patent under the great seal of this Stntc, which con-'
            ~~~1,r.~1:'" 08 tains a condition of actual settlement specifying the time limited, in and
            ,11ur 11 s oft by such letters patent for such actual settlement, and shall deliver such
            110
                  emon ' abstract to the surveyor general for the time being, who shall, and he is
                            hereby enjoined without delay, after the dny above mentioned, to make
                            enquiry, and if he shall find that nny such lands granted on the condition
                            aforesaid, shall not then be so actually settled, he shall give notice thereof
                            to the attorney general of this State for the time being, who shall without
                            delay cause a writ to be issued out of the court of chancery and directed
                            to the sheriff of the county in which the same land shall be situated, in
                            the form following, The people of the State of New York, to the sheriff
                            of        sreeting; whereas by our letters J?Rtent under OUt great seal bear•
                            ing date (reciting the same letters patent) and because we arc informed
                            that such settlement (or settlements ns the case may be) as the law re-
                            quires hath not (or have not, as the case may be) been made thereon by
                            reason whereof the same lands ought to revert to us; therefore we com-
                            mand you, that by the oath of twelve, good and lawful men of your
                            bailiwic, you diligently enquire whether such settlement (or settlements
                            as the case may be) hath (or havens the case may be) been made on the
                            said lands or on any and what part thereof as the lnw requires, and the
                            inquisition which you shall take thereof, do you send under· your seal
                            and the seals of those by whose onth you take the same inquisition be·
                            fore us in our court of chancery without dday, wheresoever the said court
                            shall then be, together with tins writ; and the sheriff shall upon receiving
                            such writ, affix a copy thereof upon the front door of the court house or
                            pince where the courts of common pleas and sessions of the pence in his
                            county were then Inst held, with a notice of the time when, and pince
                            where, the same writ is to be executed, which time shall not be less than
                            sixty days from the time of fixing the same notice in the manner afore·
                            said, and upon the return of the same writ any person aggrieved by the
                            inquisition thereupon taken may traverse the snme; and when nny issue
                            shall be joined thereupon, the record thereof shall be sent into the su-
                            preme court of judicature of tltis State, there to be tried and determined




                                                 EXHIBIT 10
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            EXHIBIT "11"




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                                                                                                  1786
                                                                                       Volume 24, Pages 783-884

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                                                                                                          LAWS OF NORTH CARO LINA, 1786.

   At a General Assembly, begun and held at Fayetteville on the eighteen lh day of November, in the year of our Lord One Thousand Seven Hundred and Eighty-Six, and in the Eleventh Year of the Independence of the
   said State, being the first session of the said Assembly. Richard Caswell. Esq. , Governor.

                                                                                                                       CHAPTER I.
                                                                                    An Act for Raising Troops for the Protection of the lnhabilants of Davidson Coun ty.

   Whereas the frequent acts of hostility comm itted by the Indians on th e inh abitants of Davidson county for a considerable time past, renders it necessary that some measures should be taken for their protection :

   I. Be it therefore Enacted by the Genera l Assembly of the State of North Carolina, and it is hereby Enacted by the authority of the same, That two hundred and one men shall be enlisted and formed into a military body,
   for the protection or lhe inhabita nts of David son county, in such ma nner and form, and under such regulations and rules as are herein after mentioned ; whose lime of service shall continue for two years, commencing
   from the day of their first general rendezvous at the lower end of Clin ch mountain , unless sooner disbanded by the General Assembly.

   II. And be it further Enacted, Thal the said troops, when raised and embodied , shall be formed into three companies , each company consisting of sixty-seven men. and officered by one captai n, one lieutenant, one
   ensign and four serjean ts; the whole to be under the immediate command of one major: The major, captains, lieutenants and ensigns to be elected by joint ballot of both Houses of the General Assembly, and
   commissioned by his Excellency the Governor for the time being: The serjeants lo be chosen and appoinled by the commissioned officers, or a majority of them, being assembled for that purpose by the commanding
   officer.

   Ill. And be it further Enacted , That each captain , lieutenant and ensign to be commissioned by virtu e or this Act. sha ll upon the rece ipt of his commission, without delay, repair to such place as sha ll be directed by his
   commanding officer for th e purpose of enlisting troops, and use his utmost dil igence in so doing; and shall from time lo lime, and as often as possible, give information to his said comma ndi ng officer of the progress he
   shall have made in that business; and the said commanding officer, so soon as he shall discover that a sufficient number of troops have been raised, sha ll give intelligence thereof to his Exce llency the Governor for the
   time being , who with the advice or the council of State , shall give orders for the marching the said troops from lime to time, into lhe Cumberland settlements ; and the present field officers or Davidson county are hereby
   authortsed and required to give directions for the disposition of the said troops, into such proportions and al such places, as may be deemed most likely to intimidate the Indians, and prevent their incursions into the
   Cumberland settlements: But nevertheless the commanding officer of the said troops in cases of emergency, or when the situation of affairs or alteration of circumstances shall make ii immediately necessary, may take
   such other measures, and make such other dispositions or the said troops, althoug h not directed thereto


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   as aforesaid , as may be deemed most conducive to the safety of the inhabitants aforesaid.

   IV. And be it furth er Enacted, That the said troops, when raised and entered upon service , sha ll be trai ned and disciplined according to such modes as the commanding officer shall judge most prope r, to enable them to
   oppose the Indians in their manner of fighting with success; but shall be subject to the same rules with respect to their government, as were established in the time of the late war by the Congress of the United States,
   for the government of the continental army.

   V. And be it further Enacted, That every able bodied man who shall be enlisted into the said service. and shalt rurnish himselr with one good rifled or smooth bored gun fit for service, one good picke r, shot.bag and
   powder horn, twelve good nints, one pound of good powder, and two pounds of good leaden bullets or buck-shot, suitable to his gun, sha ll be entitled lo receive from this State on the first day of October, in each yea r of
   his service, one blanket, two pair of stockings, two pair of shoes, two shirts, two leather stocks, one good hunting shirt, one good woollen or fur hat of a middl e size, one pair of buckskin breeches, and one waistcoa t
   lined, to be provided and furnished by a clothier to be appointed by hi s Excellency the Governor for the time being; who shall be rurnished in convenient time by the commanding officer of the said troops, with a
   certificate sworn to before some three or more justices or some county wi thin this State, with the amount of the number of troops under his command, entitled to draw clothes according to this Act; which the said clothier
   sha ll present to the Governor for the time being, together with the whole amount of each article wanted for the troops, and thereupon his Excellency shall grant him a warrant on lhe treasury for a sum sufficient to
   purchase the said articles at a moderate rate, and to defray the expence of making them into suits , and removing them lo the troops : And the said clothier shall purchase the said articles and cause them to be made up
   into suits, and delivered to the troops at the times aforesaid, taking a receipt from each soldier, attested by the captain of the company to which he may belong; for all which services, the said clothier shall be allowed by
   the Genera l Assembly, on the settlement of his accounts , a sum not less than the amount of the yearly pay hereby appointed for a captain in the said troops .

   VI. And be it further Enacted by the authority aforesaid, That the justices of the peace for the county of Davidson, or the major part of them, for that purpose assembled, shall be , and they are hereby authorised and
   req uired from time to time, so tong as the said troops shall con tinue in service, lo impose a tax on the inhabitants of Davidson, leviable in corn, pork, beef or other species of provision for the support of the said troops , to
   be collected at such lim es and places, by such ways and means, under such regulations, by such persons , and in such proportions as the said justices, or the major part of them, shall appoint and direct: And also, lhe
   said justices, or the major part of them, sha ll be em powered to appropriate the public money ta x, leviable on the inhabitants aforesaid, (If need should be) lo the purpose of defraying the expence of removing the
   provisions from the place or places of collection to the severa l stalions of the troops ; and the sa id justices, or the major part of them, shall appoint an officer lo su perintend the collection and removal of the provisions to
   the troops , who shall be enlirely subject to the directions of the commanding officer, with respect to the place , time and quantity of provisions to be delivered, but to be accountable for his receipts to, and to be paid by
   the said justices, or the majority of them, out of the money tax aforesaid, and to be removable by


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   them at pleasure . And the collector or collectors of the severa l species of provisions before mentioned, sha ll give receipts to the several persons of whom they shall receive any of the before mentioned provisions, which
   receipts shall be received by the collectors of the public laxes, at such rates as sha ll be settled by the justices of the said county of Davidson or a majority of them , and they shall be proper vouchers for the said collector
   in the settlement of his accounts wi th th e county treas urer, and also for th e said county treasurer in the settlement of his accounts with the public treasurer, any law to the contrary notwith stand ing .

   VII. And be it further Enacted, That the officers of the said troops shall be allowed the same cloathing herein before allowed lo the so ldiery, to be furnished by the cloalhier of the troops , for which he shall be entitled to a
   warrant on the treasury.

   VIII. And be it further En acted, That the officers and privates of the said troops sha ll be allowed the same pay and rations (spiritous liquors excepted) as are allowed to the militia officers and privates (regard being had to
   the ranks of officers) when in the actual service of thi s Stale: The payments to be made on lhe last day of each year's service, or within sixty days after their being disbanded.

   IX. And be it further Ena cted, That the same person who sha ll be appointed cloathier lo the said troops, shall also act as paymaster lo them , and shall at a convenient distance before each day of payment exhibit to his
   Excellency the Governo r, a list signed by the commanding officer. countersigned by the captain or commanding officer of each company, and sworn to before some justice of the peace , specifying the num ber of troops
   then in service entitled to draw pay, and the day from which each man's pa y commenced, and all such as shall have died in the service, with the amount of the sums due at their death, and the total sum due the troops.
   And the said paymaster shall thereupon obtain a draft on the treasury for such total sum, and shall proceed to the distribution thereof, taking a receipt from each man of the sum paid, attested by the captain of the
   company.

   X. And be ii further Enacted, That the captai n or commanding officer of each company shall monthly make out a pay-roll of his company, which he shall swear lo and sign , and the same be countersigned by the
   commanding officer of the troops, which shall be transmitted lo the treasurer of this State in order to make settlement with the paymaster of the said troops .

   XI. And be ii further Enacted , That the said cloathier and paymaster, before entering on the exercise of his office , shall give bond with sufficient security, in such sum as his Excellency the Governor for the time being
   shall direct, for the due application of all monies to be received by him according to the directions of this Act, and for the faithful accounting for the same before each General Assembly that shall happen in this Stale
   during the continu ance of the said troops in service , and also befo re the General Assembly that shall happen next after the determination of the said service , unless his accounts should be then fully settled and
   balanced.

   XII. And be it further Enacted, That the person to be appointed cloathier and paymaster by virtu e o f this Act, shall provide and furnish the said troops from time to time with such quantities of lead and gun-powder, as
   sha ll be required by the commanding officer of the troops; and to that end sha ll be enabled lo draw on the sheriff of Davidson county for all such sums of money belonging to the public that shall happen to be in his
   hands, as shall be necessary for tha t purpose .


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   Xl1J. And be it further Enacted. That every private to be raised by virtue of this Act, shall be allowed four hundred acres of land to be laid off and allotted in some part of this State west of the Cumberland mountain, in full
   satisfaction or the half of the first yea r's pay that shall be due; and in the same proportion for the time that he shall serve over and above one year, in full satisfact ion of one half of the pay that shall be due him for such
   further service. And also the commanding o ffi cer of the troops shall be allowed two thousand acres of land, to be allotted as aforesaid, in full satisfaction of half the pay that shall be due him for the first year's service ,
   and in th e same proportion for any service over and above th e term of one year that he shall perform ; and the other officers belonging to the said troops, in like manner shall receive satisfac tion for the one half of the pay
   that shall be due them, in lands in proportion to the quantum of pay that each officer shall be entitled to for the first half year's pay, whenever a proper board shall be appointed for the adjustment of their accounts .

   XIV. And be it further Enacted, Thal if any twenty.five of the said troops shall furnish themselves , each man with a good horse fit for service, four feet eight inches high at the least, and not exceeding nine years of age ,
   with a good sadd le and bridle. and one good rifled or smooth bored gun, they shall be formed into a company of cavalry, lo be commanded by such officers as a majority of the commissioned officers belonging to the
   said troops assembled for that purpose shall direct and appoint, and be allowed the same pay and rations (spiritous liquors excepted) as other militia ligh t-horse when in actua l service .

   XV. And be ii further Enacted, That the said troops , when assembled at the lower end of Clinch mountain as aforesaid , shall cut and clear a road from thence the nearest, most direct and convenient way to lhe town of
   Nashville on Cu mberla nd river, ma king the same ten feet wide at the least, and fit for the passage of waggons and carts.

   XVI. And be it further Enacted, That his Excellency th e Governor shall appoint a co mmissary or contractor, whose duty it shall be to furnish the troops with the necessary rations on their march lo the Cumberland
   settlement, and with fifteen axes for each company, and grant him a warrant on the treasury for such a sum of money as wi ll enable him to comply with the same; who before he enters on the execution of his
   ~ppointm enl sha ll enter into bond with sufficient security to the Governor for the time being , for the faithful accounting for all such money as he may have received.


                                                                                                                  EXHIBIT 11
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https://docsouth .unc.edu/csr/index.php/document/csr24-0017                                                                                                                                                                                 1/26
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                                                                                                    North Carolina                                                                                                       Page 35
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     IV. And be it further Enacted, That all offences committed or done against the purview of the aforesaid recited Act, shall hereafter be prosecuted by indictment in any court having cognizance
     shall be recovered by action of debt, bill, plaint or information; one half to the use of the prosecutor, the other half to the use of the State, unless the same have been otherwise provided
                                                                                                                                                                                                          thereof; and au forfeitures
                                                                                                                                                                                                    for by the said Act.
    V. And be it further Enacted by the authority aforesaid, Thal when any person appointed as an overseer of the roads in any county in this Slate, he shall be deemed and held liable for any neglect in working
                                                                                                                                                                                                                               on the
    roads, until he sha ll have made return to the court of his county, and shall make it appear lo their satisfaction he has done the duties of an overseer by law directed. (Passed Jan . 6, 1787
                                                                                                                                                                                                         .)

                                                                                                        CHAPTER XIX .
         An Act to Empower the Several County Courts Therein Mentioned to Lay a Tax Annually, Nol Exceeding Three Years, for the Purpose of Erecting or Repairing the Court House, Prison
                                                                                                                                                                                          and Stocks in Each County When
                                                                               Necessary, and for Defraying the Contingent Charges of the County.

    Whereas the taxes heretofore levied in the counties of Sampson, Richmond, Johnston, Randolph, Hyde, Anson , Wayne , Martin Cambden, Guilford, Cumberland, Moore, Bladen, Davidson,
                                                                                                                                                                                       Surry, Sullivan and Greene for
    the purposes above mentioned, have been found insufficient for the same : For remedy whereof,

    I. Be it Enacted by the General Assembly of the State of North Carolina, and it is hereby Enacted by the authority of the same, That the courts of the several counties herein before named, shall, and they are
                                                                                                                                                                                                                     hereby
    aulhorised and empowered from and after the passing of this Act. to lay a tax annually,


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    not exceeding the sum of three shillings current money on every poll , and one shilling on every hundred acres of land , and on each hundred pounds value of town lots with their improvements
                                                                                                                                                                                                          in their counties
    respectively, for the purpose of erecting, finishing or repairing such court house, prison or stocks , in any of the counties aforesaid , when the same may be found by the said court to be
                                                                                                                                                                                                 absolutely necessary, and for the
    purpose of defraying the contingent charges; which said tax sha ll be collected and accounted for in !he same manner, at the same lime, and by the same persons who are appointed to
                                                                                                                                                                                                  collect the public tax in each
    county, and the same so collected, shall be paid into the hands of such person or persons for the purposes aforesaid, as the several county courts shall from time to time direct; which
                                                                                                                                                                                                 person or persons so nominated
    and appointed , sha ll be accountable to the courts of their respective counties for all such monies as he or they may receive in virtue of this Act.

    II. And be it further Enacted by the authority aforesaid, That all and every Act and Acts, so far as they come within the purview or meaning of this Act, be , and they are hereby repealed
                                                                                                                                                                                                       and made void.

                                                                                                               CHAPTER XX.
          An Act to Prevent the Obtaining of Grants for Lands Lying in the Western Parts of this State lo the Prejudice of the First Enterers, and Entered in the Office Lately Established for Receiving
                                                                                                                                                                                                          Entries of Claims of Such
                                   Lands, by an Act. Entitled, ~An Act for Opening the Land Office for the Redemption of Specie and Olher Certificates, and Dicharging the Arrears Due to the Army."

    Whereas it is the intent and meaning of the said Act and of the Act, hereby revived and put in force, that the first enterers of the vacant and unappropriated lands , lf specially located,
                                                                                                                                                                                                 therein described, shall have
    preference to all others in surveying and obtaining grants for the same, when such entries have been made: And whereas divers persons have repaired to the lands lying out of the inhabited
                                                                                                                                                                                                          part of this State, and have
    caused the same to be surveyed in virtue of entries made subsequent to the entries for the same lands and plats of such surveys to be returned to the secretary's office, have or are about
                                                                                                                                                                                                       to obtain grants for the same ,
    to the prejudice of the first enterers : For remedy whereof,

    I. Be it Enacted by the General Assembly of the State of North Carolina , and it is hereby Enacted by the authority of the same, Th at every first enterer of any tract of land specially located,
                                                                                                                                                                                                       lying in the western parts of this
    State, out of the inhabited parts thereof, shall be allowed the term of two years from the last day of the present session of Assembly to cause the same to be surveyed and to obtain grants
                                                                                                                                                                                                       thereon ; and lhat all grants and
    suiveys of land lying in the parts aforesaid heretofore or hereafter to be made or obtained within the said two years by any person upon lands previously or first entered by any other person
                                                                                                                                                                                                        , shall be, and the same are
    hereby declared to be void and utterly of no effect. And whereas it hath been found impracticable for the surveyors in the different districts and counties west of the Apalachian mountain,
                                                                                                                                                                                                     lo make their surveys within the
    time limited by law:

    II. Be it Enacted, and it is Enacted by the authority of the same, That a further time of two years from and after the expiration of the limitation by law now existing be allowed , in order that
                                                                                                                                                                                                       the surveyors may complete the
    surveys as by warrant to them directed.

    Ill. And be it further Enacted, That it shall not be lawful for the secretary


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    of State, and lie is hereby directed, not to issue any grants for lands lying west of the Cumberland mountain until th e end of the next session of Assembly, grants allowed for military services,
                                                                                                                                                                                                        pre-emption and guard rights
    excepted.

    IV. And be It further Enacted by the authority aforesaid, That the farther time of twelve months sha ll be allowed to the officers and soldiers of the late continental line of this State, to locate
                                                                                                                                                                                                          and survey the lands allowed
    them by law.

    V. And be it further Enacted by the authority aforesaid, That the further lime of two years shall be given for the registering military grants in this State.

    VI. And be it further Enacted, That art deeds, grants and mesne conveyances not issued from the late Lord Granville's office , shall be allowed a further time of two years for probate and
                                                                                                                                                                                                registration; all which deeds ,
    grants and mesne conveyances not issued from the Lord Granville's office , although the time in which they ought to have been proved and registered may have elapsed , shall be as valid
                                                                                                                                                                                                  when proved and registered in
    pursuance hereof, as if the same had been done in due time according to any former law.

    VII. And be it further Enacted , That all surveys already made for removed warrants for lands actually entered in the land office at Hillsborough, and removed on account of the lands entered
                                                                                                                                                                                                        being previously entered as
    the law directs, sha ll be good in law, provided such lands were al the time of such survey actua lly vacant, and that such survey on removed warran ts shall not effect or injure the right
                                                                                                                                                                                                 of any lands entered and speciall y
    located in the office aforesaid , previous to such survey.

                                                                                                          CHAPTERXX I.
           An Act to Amend an Act, Entitled, ~An Act for Emitting One Hundred Thousand Pounds Paper Currency for the Purposes Therein Mentioned ,~ for Appropriating lhe Tobacco Lately Purchased
                                                                                                                                                                                                        by Virtue of Said Act
                           Towards Discharging the Interest of the Foreign Debt Due by the United States, and for Making Provision for the Future Discharge of the Principal and Interest of the Said Debt.

    Whereas the provision made by the Act, entitled , "An Act for emitting one hundred thousand pounds paper cu rrency for the purposes therein mentioned," was intended to discharge the
                                                                                                                                                                                             proportion of this Slate of the
    interest of the foreign deb! due by the United States, but the said Act is expressed in terms altogether uncertain and Insufficient lo answer the purpose thereby intended: For remedy whereof,

    I.Be it Enacted by the General Assembly of the State of North Carolina, and it is hereby Enacted by the authority of the same, That the delegates from this State in Congress , be and they
                                                                                                                                                                                                       are hereby authorised lo sell
    and dispose of lhe said tobacco purchased by the State under the said Act, for the highest price that can be had for the same , and the proceeds of such sale shall be subject to the orders
                                                                                                                                                                                                       of the board of treasury of the
    United States, and shall be carried to the credit of this State in account with the United States , in discharge of so much of the interest of the foreign debt due by the United States for which
                                                                                                                                                                                                       this State is or may be liable:
    and on such sale being made as aforesaid, they shall without delay advise the Governor thereof, who shall be and is hereby directed and authorised to give the necessary orders to the
                                                                                                                                                                                                    severa l commissioners lo have
    the said tobacco respectively by them purchased, carefully reviewed and put in good order and readiness


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    to be delivered , at the usual place of lading at or near Edenton, Washington or Wilmington , to such person or persons lo whom the same may have been sold as aforesaid .

    II. And be it further Enacted, That proper persons sha ll be chosen by joint ballot of both Houses or the General Assembly, for the purpose of purchasing tobacco deliverable at the towns
                                                                                                                                                                                                 of Halifax, Tarborough and
    Fayetteville, to whom the treasu rer shall pay the monies arising from th e revenues and sources of revenues appropriated to the discharge of this Stale's estimated quota of the interest
                                                                                                                                                                                                and principal of the foreign loans.
    by an Act, entitled , ~An Act for the support of government. and for approprialing the revenues of the State;~ whereof the monies arising and collected from such revenues in the district
                                                                                                                                                                                               of Edenton , Halifax and New Bern,
    shall be paid as aforesaid to the commissioners of Halifax and Tarborough , that is to say, the one half to each commissioner; and the monies arising from such revenues in the remaining
                                                                                                                                                                                                  districts in the State, shall be
    paid to the commissioner purchasing al Fayetteville for the purposes aforesaid; and the commissioners so appointed shall be enlitled to the same commissions for such service , take
                                                                                                                                                                                             the same oath and give the same
    security for the faithful performance of the trust reposed ln them, which was required of the commissioners appointed for similar purposes under an Act passed at New Bern ln 1785, entitled,
                                                                                                                                                                                                      "An Act for emitting one
    hundred thousand pounds paper currency for the purposes therein expressed.~

    Ill. And be it further Enacted , That the said commissioners shall not on any pretence give more than the current cash price of the day for each hundred weight of merchantable tobacco,
                                                                                                                                                                                                 which tobacco shall be disposed
    of for the purposes aforesaid, as the next General Assembly shall direct, and the said commissioners shall settle their accounts with the comptroller of this State on or before the first
                                                                                                                                                                                               day of March, 1788. (Passed Jan. 6,
    1787.)

                                                                                                              CRAPTER XX II.
                                                                                                An Acl for Establishing a Militia 1n thi s State.

    Whereas in all republican governments a well regulated militia is highly necessary for the defence and safety thereof:

    I.Be it therefore Enacted by the General Assembly of the State of North Carolina, and it is hereby Enacted by the authority of the same, That all freemen and indented servants withm this
                                                                                                                                                                                                           State . from eighteen to fifty
    years of age. sha ll compose the militia thereof; Judges of the superior court of law, delegates, secretary, councillor of State , treasurer, attorney general, mmisters of the gospel of every
                                                                                                                                                                                                      denomination having the cure of
    souls , ferrymen , branch pilots , inspectors of public warehouses , justices of the peace , and continental officers who have served with reputation three years or to the end of the war, unless
                                                                                                                                                                                                          sooner deranged by a refonn of
    the army, excepted. Provided, That nothing herein contained shall be construed so as to exempt any person from performing duty in case of insurrection or invasion in this Sta te: organized
                                                                                                                                                                                                            in the following manner, to wit:
    The militia of each district shall compose a brigade, the infantry of each coun ty shall form a regimen t consisting of one or more battalions, with eight regiments of cava lry and two battalions
                                                                                                                                                                                                            of artillery, formed as
    hereinafter directed . Provided , That no person shall be enrolled in any troop of horse until approved of by the field officers of the regiment of his county, but shall until then do his duty
                                                                                                                                                                                                     in the Infantry.
    II. And be it further Enacted by the authority aforesaid , That each and


                                                                                                  - --      --page 814 - - - --

    every company of infantry shall consist of one captain. one lieutenant. one ensign, three serjeants , three corporals, one drummer, one fifer and not less than fifty privates: all of whom
                                                                                                                                                                                                 shall reside in the district: And one
    troop of horse shall be formed in each county, consisting of one captain , one lieutenant, one comet, three serjeants , three corporals , one trumpeter and thirty-two privates , and the cavalry
                                                                                                                                                                                                       in each district shall compose
    one regiment: And there shall also be one company of artillery in each borough town in this State , consisting of one captain , one captain-lieutenant, and one lieutenan t, three serjeanls
                                                                                                                                                                                                  , three corporals, two drummers ,
    two fifers and fifty-two privates , which shall be formed into two baltalions, composing one regiment.

    111. And be it further Enacted by the authority aforesaid, That each brigade sha ll be commanded by a brigadier-general , each regiment of infantry by a li eutenant-colonel Commandant,
                                                                                                                                                                                             a lieutenant-colonel and two
    majors. except where there may be two or more battalions in one county, then in that case by a lieutenant-colonel commandant of the regiment , and one lieutenant-colonel and one major
                                                                                                                                                                                                 to each battalion : and each
    regiment of cavalry by one lieutenant-colonel commandant and two majors; and the regiment of arti llery by a lieutenant-colonel commandant and two majors , one to each battalion; who
                                                                                                                                                                                               shall be chosen by a joint ballot of
    both houses of the General Assembly in all cases of vacancy: And the brigadier-general of each district is hereby authorised to appoint the brigade-major, aid-de-camp and inspector
                                                                                                                                                                                           to the brigade; the adjutant, the

                                                                                                            EXHIBIT 11
    surgeon , and the drum and fife-major shall be appointed by the commanding officer of each regiment; and lhe non-commissioned officers , drummers, fifers and trumpeters shall depend
                                                                                                                                                                                               on the appointment of the captain



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            EXHIBIT "12"




                                 EXHIBIT 12
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The statutes at large of Pennsylvania from 1682- 1801. ... Compiled
under the authority of the act of May 19, 1887 by James T. Mitchell
and Henry Flanders, commissioners.
Pennsylvania.
Harrisburg, Pa. , State Printer, 1896 - 1909

http://hdl.handle.net/2027/md p.39015050623514




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       PENNSYLVANIA
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                                         COMPILED UNDER THE
                              .lUTJiORITY ()Ji' TRE ACT Oli' MAY 19, 18Br, BY

                       JAMES T, MITCHELL AND HENRY FLANDERS
                                            COMMISSIONERS




                                    VOLUME XIV
                                               1'791-1'793




                                        HARRISBURG, PA.:
                         HARRISBURG PUBLISHING CO,, STATE PRINTER,
                                                  1909.




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                                                           EXHIBIT 12
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  454!                          Tlie Statutes at Large of Pennsylvania.                  [1798
                  of their capital expended in the p,rosecution of the said! work,
                  and of the income and profits aris.ing from the said toll, for and
                  during the said respective periods, together wiith an exact ac-
                  count of the costs a~d charges of keeping the said bridge in re-
                 pair, and all other continge nt costs and charges, to, the end that
                 the clear annual income and pro,fits thereof may be ascertain ed
                 and known, and if at the end of two years after the said bridge
                 shall be completed, it shall a,ppeiar from the avera,ge profits of
                 the said two years, that the said clear income and pro.fits. thereof
                 will not bear a dividend o.f six per centum per annum on the
                 whole capital stock o,f the said company so expended, then it
                 shall and may be Ia,wful for the president, managers1 and com-
                 pany to increase the tolls hereinabove allowed, so much upon
                 each and every allowance thereof as will raise the dividends to
                 six per centum p,e1• annum, and at the end of eveiry ten year~
                 after the said bridge shall be completed, they shall rende1' to the
                 generaJ assembly a like abstract of their accounts for three pre-
                 ceding years, and if at the end of any such decennial p~riod, it
                 shall appear from such abstract that the clear pro.fits and in-
                 oome of the said company will bear a dividend of mo!l'e than
                 twenty-five per centum per annum, then the said tolls shaJl be
                 so reduced, as will reduce the said dividend to twenty-five per
                 centum per annum.
                        Passed April 11, 1793. Recorded L. B. -, p, -, (not given.)




                                        CHAPTE R MDCXCVI.



                 AN A(Yr FOR THE REGULATION OF THE MILITIA OF THE COMMON-
                                 WEALTH OF PENNSYLVANIA.
                    Whereas a well regulated militia is the only safe and con-
                 stitutiona l method of defendin g a free state, and whereas, the



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      1793]                   The Statutes at Large of Pennsylvania.                               455

      several laws enacted by the legislature of this commonwealth
      for the regulation of the militia thereof, have been found, to re-
      quire material alterations, in order to which it has been
      thought more advisable to revise the whole system, than to·
      mn~nd it by supplementary statutes: Therefore:
           [Section I.] (Section I, P. L.) Be it enacted by the Senate
      and House of Representatives of the Commonwealth of Penn-
      sylvania, in General A~mbly met, and it is hereby enacted
      by the autho-rity of the same, That each and every free, able-
      bodied, white, male citizen of this or any other o.f the nited
      States, residing in this commonwealth, who is or shall b€ of the
      a.ge o.f eighteen years and under the age of forty-five years, ex-
      cept a s hereinafter excepted, shall severally and respectively be
      e:nroUed in the militia, by the captain or commanding officer of
      tire company within whose bounds sucl1 citizen shall resid-e,
       within three months after the passing· of this act, and that it
       shall be at all times hereafter the duty of every such captain
      or commanding officer of a company, to enroll every such citi-
       zen as aforesaid, and also those who shall from time to time
      arrive at the age of eighteen years, or being of the age of eigh-
      teen years and under the age of forty-five yea1·s, and not ex-
       cepted by this act, shall come to reside within bis bounds,, 31,1,ul
      shall without delay notify such citizen of the said enroll-
      ment by a proper non-commissioned officer of the company,
       by whom such notice may be proved; and all case£ of
      doubt respecting the age o.f any person enrolled or intended
      t o be enrolled·, the party quesfome<l shall p1-ove ms ge
       to the satis faction of the officers of the comi:,any withi n who:;::~
       li>ounds he may. reside, 011 a maj;l'lrity of them.
            ~Section II.] (Section II, P. L) And be it further enact- ti
       by the authority aforesaid, That the vice president of the
       United States, officers, judicial and executive, of the govern-
       ment of the 1;nited States, the members of both houses of con-
       gress and their respective officers, judges of the supreme court,
       judges of the court of common pleas, attorney general, secre-
       1ary and treasurer of the state, sheriffs, gaolers and keepers
       of workhouses, all post-officers and stage-drivers who are em-
       ployed in the care and conveyance of the mail of the post



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  456                         The Statutes at Large of Pennsylvania.             [1798
                 office of the United States, all ferrymen employed at any ferry
                 on the post roads, all inspectors of exports, all pilots, all marin-
                 ers actually employed in the sea service of any citizen or mer-
                 chant within the United States, ministers of religion of every
                 denomination, professors and teachers in the university, col-
                 l<>ges, academies and schools, the librarian of the library com-
                pany of Philadelp hia and of the Loganian library, and menial
                 servants of ambassadors or ministei:s and consuls from for-
                eign states, and no other person or persons, shall be, and are
                hereby, excepted from military duty, notwithstanding their be-
                 ing above the age of eighteen and under the age of forty-five
                years. And also all young men under the age of twenty-one
                years, and all servants purchased bona fide and for a valu-
                able consideration, though enrolled agreeably to the first sec-
                tion of this law, shall be exempted from furnishing the neces-
                sary arn~s, ammunition and accoutrements, as are required by
               the fifth section thereof, and shall be excepted from militia
                duties and fines during such minority or servitude, except in
                cases of rebellion, or an actual or threatene d invasion of this
                or an;v of the neighboring states.
                   lSection III.] (Section III, P. L.) And be it further enacted
                Loy the authority aforesaid, That the militia of this common-
                wealth shall, within the respective bounds hereinafter men-
                tioned, be arranged into divisions, brigades, regiments, bat-
               talions and companies; that each brigade so to be formed shall
               consist of not less than two nor more than eight regiments;
               each regiment into two battalion s; and each battalion into four
                C'1>mpanies, in such manner that no company shall consist uf
                more than eighty or less than forty individuals, or as near a11
               may be, having regard to their local situation s; there shall be
               to <>ach battalion at least one company of grenadiers, light in-
                fantry or riflemen, and to each division there shall be at leasL
               one company of artillery and one troop of horse, which s1all
               he formed of volunteers from the respective brigades at tht'
               discretion of the govemor, not exceeding one company of eaeh
               to a regiment, nor more in number than one-eleventh part ot
               the infantry.




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     1793]             The Statutes at Large of Pennsylivania.                          457

         Provided always, That the several volunteer corps of artil-
     lery, cavalry and infantry, which have hitherto, existed in this
     commonwealth and have not been included in the general
     formatio·n of the militia, shall continue to exist as heretofore,
     and retain the privileges which they have hitherto enjoyed.
         [Section IV.] (Section IV, P. L.) And be it further enacted
     py the authority aforesaid, That the territory of this common-
     wealth, for the purpose of making the arrangement in the pre-
      ceding section mentioned, be and is hereby divided into divi-
      sion bounds as follows, to wit.: The city and county of Phila-
      delphia shall form one division; the counties of Bucks and
     Montgomery one other division; the counties, of Chester and
      Delaware one other division; the counties of Lancaster and
      York one other division; the counties of Berks and Dauphin
      one other division; the counties of Cumberland and Franklin
      one other division; the counties of Northampton, Northumber-
      land and Luzerne one other division; the counties of Bedford,
      Huntingdon and Mifflin one other division, and the counties of
      Westmoreland, Washington, Fayette and Allegheny one other
     divisdon. The city of Philadelphia. shall form a brigade, and
     each county shall form a brigad,e; provided that it shall be law-
     ful for the governor to divide any county into two· brigades,
     when the number of men enrolled in the militia of such county
     shall exceed four thousand.
         [Section V.] (Section V, P. L.) And be it further enacted
      by the authority aforesaid, That in order that the militia may
      be properly armed, equipped and accoutred, every citizen en-
      l'olled and notified of this enrollment in manner aforesaid, ex-
      cept 11s is hereinbefore excepted, shaJl, within six months after
      receiving such notice, provide himself with the arms, ammu-
     nition and accoutrement hereinafter mentioned, viz.: Every
      non-commissioned officer and private of the infantry (including
      grenadiers and light infantry and of the artillery) shall have a
      good musket or firelock, a sufficient bayonet and belt, two
     spare flints and a kna,psack, a pouch with a box therein, to
      eontain not less than twenty-four cartridges suited to the bore
      of his musket or firelock, each cartridge to contain a proper
      quantity of powder and ball, or with a good rifle, knapsack,



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  458                       The Statutes at Large of Pennsylvania.           [1793
               $hot-pouch and powder horn, twenty balls suited to the bore
               of his 1•ifle and a quarter of a pound ~f powder; the commi'i!-
               sioned officers of infantry shall be armed with a sword or
               hanger and an. espontoon, and those of artillery with a sword
               or hanger, a fuzee, bayonet and belt, and a cartridge box to
               contain twelve cartridges. The commissioned officers of the
               :l'everal troops of horse shall furnish themselves with good,
               horses, of at least fourteen hands and an half high, and shall
               be armed with a. sword a.nd a. pair of pistols, the holsters of
               which shall be covered with bearskin caps; each light-horse-
               man or dra,goon sh.an furnish himself with a serviceaible horse,
               of at least fourteen hands and an half high, a good saddle,
               bridle, ma.il pillion and valise holsters, and a bl'east plate and
                cup,per, a pair of boots and spurs, a pair of pistols, a sabre
               a,nd a carto·uch box, to contain twelve cartridges for pis,tois;
                the artillery and horse shall be uniformly clothed in regi-
                mentals, to be furnished at their own expense, the color and
                fashion to be determined' by the brigadier commanding the
                brigade to which they belong; every militiaman shall appear
                so armed, accoutred and provided when called out to exercise
                or into service (except that when called out on company days
                to exercise only he may appear without a knapsack) and every
                 man so enrolled as aforesaid, and providing himself with the
                 arms, ammunition and accoutrements required as. aforesaid,
                 shall hold the same exempted from all suits, distresses,
                 executions1 or sales for debt or the payment of taxes. Each
                 battalion and regiment shall be provided with the state and
                 regimental colors by the field officers, and each company with
                 a drum and fife or bugle horn: by the commissioned officers o-f
                the comp·any; the expenses of such colors, drums, fifes or bugle
                 horns to be repaid to the officers out of the :fines incurred by
                 this act.
                    Provided always, That whenever the field officers of any
                 regiment shall judge any person enrolled therein, unable to
                  arm and equip himself as aforesaid, such person shall not be
                 subject to any :fine for not arming, anything herein contaii.ned
                  to the contrary notwithstanding.




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      1793]            The Statutes at Large of Pennsylvania.                         459
          [Section VI.] (Section VI, P. L,) And be it further enacted
       by the authority aforesaid, That the militia. shall be officered as
       follows: To each division one major-general and two aides-de-
      camp, with rank of major; to each brigade one brigadier g·e·n-
      eral, with one brigade inspector to serve also as, brigade-majoi',
      with r-ank of major; to each regiment one lieutenant-colonel
      commandant; and to -each battalion one major; to- each company
      of infantry, (including light infa.ntr-y and grenadiers1 one cap-
      tain, one lieutenant, one ensign, four sergeants, four corporals~
      one clerk, one drummer and one fifer or bugler; tha;t their
      shall be a 1•egimental staff, to consist of one adjutant and
      one quarter-master, to ra.nk as, lieutenants; one paym:a,s-
     ter, one surgeon and one surgeon's mate, one sergeant major,
     one drum maJor and one fife major; there shall be to
      each compani}" of artillery one captain, two lieutenants, four
      sergeants, fo.ur corporals, six gunners, six bombardieffl, one
     drummer and one fifer; and to: each troop of norse the.re shall
                                      1


      be one captain, two lieutenants., one cornet, four sergeants,, four
     corporals, one saddler, one fa,rrier and one trum'.Peter; there shall
     be aJL adjutant-genea.,al appointed fo.r the whoJe militia.
         [Section VII.] (Section VII, P. L.) Ana,1 be it further
      enacted by the authority aforesaid, That the adjutant-genera l,
      ruajor-general, brigadier-general and brigade inspectors, shall
      be appointed and commissioned by the governor; the division
     and brigade officers to be residing within their respective divi-
     sions and- brigade bounds; that the majors-general shall apoint
     their own aides-de-camp out of the line of ca1p:tains or subal-
     tl'rns; that the field officers of each regiment shall appoint their
     respective regimental staffs; that the lieutenant-colonels,
     majors, captains, lieutenants and ensigns, shall be elected In
     form and manner hereina.fter mentioned and provided for; that
     all commissioned officers shall be commissioned for seven yea.rs,
     and shall take rank according to the date of their commissions,
     and when two of the same grade bear an €qnal date, then their
     rank shall be determined by lot to be drawn by them before
     the commanding· officer of the brigade, regiment, battalion,
     eompany or detachment.




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   460                         The Statutes at Large of Pennsylvania.            [1793
                     [Section VIII.] (Section VIII, P. L.) And be. it further
                   enacted by the authority aforesaid, That the duty of the a.d-
                  jutant-general shall be to distribute all orders from the gov-
                  ernor, as commander-in-chief of the militia of the state, to the
                  several corps; to attend all public reviews when the governor
                  shall review the militia; to obey all orders from him relating
                  to the carrying into execution and perfecting the system of
                  military discipline established by this act; to furnish blank
                  forms of the different returns that may be required, and to- ex-
                  plain the principles on which they should be made; to receive
                  may be furnished therewith; from all which returns, he shall
                  make a general return of all the militia of the state, and law
                  the same before the governor and a duplicate thereof before
                  the president of the United States; that the said adjutant-gen-
                  erul, before he enters upon the exercise of the duties of his
                  office, shall give bond with two or mo1•e sufficient sureties in
                  the penalty of five thousand dollars, conditioned for the due
                  and faithful performance of the said duties, and shall in full
                  compensation for his services receive a yearly salary of eight
                  hundred dollars.
                     [Section IX.] (Section IX, P. L.) And be it further enacted
                  by the authority aforesaid, That it shall be the duty of the
                  brigade inspectors to attend the regimental and battalion
                  meetings of the militia composing their several brigades dur-
                  ing the time of their being under arms; to inspect their arms,
                  ammunition and accoutrements, superintend their exercise
                  and manoeuvres, and introduce throughout the state the system
                  of military discipline established by this act, as well as such
                  orders as they shall from time to time receive from the gov-
                  ernor, as commander-in-chief of the militia, to make returns
                  to the adjutant-general at least once in every year, and at
                  such stated time or times as the governor shall direct, of the
                  militia of the brigade to which he belongs, reporting therein
                  the actual situation of the arms, accoutrements and ammuni-
                  tion of the several corps and every other thing which in his
                  judgment may relate to their government and_ the general ad-
                  Yllltcement of good order and military discip.Une; that it shall




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     1793]             The Statutes at Large of Pennsylvania.                           461

     moreover be the duty of the said brigade inspectors to super-
     intend the elections of the field officers, to- procure and furnish
     arms, accoutrements, ammunition, drums, fifes, bugle horns,
      carriages for the transportation of baggage and other articles
     that may be wanted for the use of their respective brigade~,
     and to do all and every such other duties as are enjoined up1;n
     them by this act, in form and manner therein prescribed; and
     in full compensation for all their serviceSJ each of the said
      brigade inspectors shall receive the yearly salary of two hun-
     dred dollars; and each of the said inspectors before he enters
     upon the duties, of his, o-ffice s,hall give bond with one or more
      sufficient sureties in the penal sum of one thousand dollars,
      conditioned for the due and faithful performance of the said
     duties and for the faithful accounting for, according to law,
      and paying of all the moneys which shall come to his hands
      by virtue of this1 act, when thereunto lawfully required; and
     each of the said inspectors shall, once in every twelve months,
      maJrn out complete accounts, of all the moneys received by him,
      and of his expenditures) and return the same to, the adjutant-
      general, and o-n failure of accounting as aforesaid, each in-
      spector shall forfeit and pay for every such neglect the sum
      of fifty dollars, to be applied as other fines are directed to be
      applied by this act; and on the death, removal, or resigna.tion
      of any of the said inspectors, such inspector, his executors or ad-
      ministrators, shall, on the reasonable demand in writing o,f his
      succe1:isor in officE\, or of any other person who shall be1 ap·
      pointed by the governor to receive the same, deliver up to the
      said successor, or other person as aforesaid, all and singular the
      books, duplicates, returns and other papers belonging to or in
      use in the said office, and on refusal thereof, he or they so
      offending, shall forfeit the sum of one thousand dollars and the
      necessary cost of prosecution, to be recovered by the said suc-
      cessor in office, or other person duly authorized as aforesaid,
      upon indictment, bill, plaint or info,rmation, or by actio,n of
      debt, in any court o.f recoi-d within this state, to be applie<ll as
      other militia fines a.re directed to be applied by this act, and in
      case of a second refusal, such person or persons so refus.i.ng




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  462                        The Statutes at Large of Pennsylvania.           [1793

                shall suffer as well the said penalty as the further punishment
                of Etix months' imprisonment, without bail or mainprise, a,nd
                the judges of the court where such penalty shall be reco,vered
                shall order the said commitment accordingly.
                    [Section X.] (Section X, P, L.) And be it further enacted
                by the authority aforesa.id, That each of the said inspectors
                shall, on or before the, first l\fonda.y in May next, and some time
                between the first day and la,st day of March in every succeed-
                ing year, issue his warrant, directed to the captain or com-
                ma,nding officer for the time being of each compa·ny of the sev-
                eral ba.ttalions, or some other fit person in his brigade, com-
                manding him in the name of the commonwealth to deliver to
                him, the saiu inspector, within ten days from and after the
                uate of the said warrant (on oath or a,ffirmation, which the said
                inspectors are hereby sevemUy empowered to administer), a
                hue and exa.ct list of the names and surnames of each and
                every free, able-bodied, white, male citizen of this or any other
                of the United States, residing within tue bounds of his
                company, between the a.ges of eighteen and forty-five years·, not
                being such as are abo,ve declared excepted from militia duty,
                and lay such lists, within three days after he shall have re-
                ceived the same, before the brigadier general of his brigade,
                 who shall thereupon divide his said brigade into regimental
                battalions and companies, in manner hereinbefore directed, to
                each of which he shall appoint proper districts or local s:ub-
                 divisions, paying due regard to the conveniency of the inhabi-
                tants, and taking care that each pe1•son. be annexed· to, the
                 numercial class to which he formerly belonged,
                    [Section XI.] (Section XI, P. L.) And be it further enacted
                 by the authority aforesaid, That the elections of such o.fficers
                as are by this act declared to be elective, shall be made as fol-
                lows: The several brigade inspectors shall, on or before the first
                TuesdaiY of June next, give no,tice, by advertisement at eig·ht or
                 nHwe of the most public places of each regiment bounds or dis,-
                 trict, appointing a. certain day for each district, not less than
                 ten days. after the said notice, and requiring all the citizens
                 l'nrolled in the said regiment and residing within the bound!!
                 thereof, except as is hereinbefore excepted, to meet at a <'er-



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     1793]             The Stattites at Large of Pennsylvania.                           463
     fain place as near the centre of the said district as may be, and
     then and: there, between the hours of ten in the morning and
     six in th~ afternoon of the said da;y, to elect by ballot one lieu-
     tenanrt colo·nel; a,nd the enrolled inhabitants of each battalion
     bounds, respectively, shall -elect by ballot as aforesaid, on the
     same or some other day and at such place or places as
     sha.Il be most convenient, but with the least possd.ble d:e-
     lay, one maJor; and the enrolled inhabitants of each com-
     pany bounds, vespectively, sh.all elect by ballot as afore-
     sa.id, on the same or some other day and at such place
      or places as shall be most co,nvenient, but with the least
      possible delay, one captain, one lieutenant a.nd one ensign;
      previous to which said election or elections, respectiveJy,
      the said enrolled inhabitants shall elect two respectable
       citizens to preside as judges thereof, who shall certify to the
      inspector the names of the persons so elected, and each cap-
      tain s·hall appoint a suitable pers.on for a clerk in his company,
       and the said inspector shall attend and superintend ea.ch and
       every of the said battalion elections, and after the officers a,re
       elected shall give notice thereof to the brigadier, who, shall
       cause the lieutenant colonels of his brigade to assemble to-
      gether, as soon as maiY be, to cast lots for rank of the regiments,
       and the said lieutenant colonels shall afterwards call together
      the majo:1.·s and captains of their respective regiments, to cast
       lots in like. manner for their respective ranks, and the ranks
       of the lieutenants and ensigns shall be. determined by the ranks
       of the captains) respectively, a,nd the said ins,p,ectors shall, as
       soon as may be after the officers shall have been elected and
       their ranks ascertained, transmit proper certificates to the gov-
       ernor, of the names of the persons, so as aforesaid elected! and
       their ranks, in order that commissions may be gra,nted fo th.em
       according to the said certificates; and elections for officers illl
        the light-horse shall be made in like manner as elections for
        officers in the infantry a.nd artillery, and in every case of future
       vacancy, whether by d~,th, resignation or absence, as heJ.1ein-
       after provided, the brigadier, in whose brigade such vacancy
       or vacancies shall happen, shall imilllediately, upon receiving
       notice thereof, cause one or more regiment, battalion or com·



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   464                         The Statutes at Large of Pennsylvania.             [1798
                  pany elections to be held in manner a.nd form aforesaid, in order
                  to supply the same, and shall, when there shall be occasion,
                  cause the ranks to be ascertained, and make return to the gov-
                  ernor in manner hereinbefore pro,vided; and whenever any
                  vacancy or vacancies shall happen, as aforesaid, in any regi-
                  ment, battalion or company, the commanding officer of such
                  regiment, battalion or company, for the time being, shall give
                  immediate notice thereof to, the inspector of his brigade, that
                  the same may be filled up without loss of time; and if any
                  regiment, battalion, troop 01• company, being duly noticed and
                  required as aforesaid, shall neglect or refuse, to elect their
                  officers as aforesaid, then it shall a.nd may be lawful for the
                  inspector of the brigade to which such regiment, battalion,
                  troop or conipany shall belong, to nominate, with the appro-
                  bation of the brigadier-general, one suitable person to the gov-
                  ernor, in the room of ea.ch officer so neglected to be chosen,
                  and the said governor, approving thereof, aha.II commission the
                  said person, which shall be as effectual to all intents and pur-
                  poses as if the said officers had been elected as before directed;
                  and the said inspector shall, as soon as may be, acquaint the
                  parties so neglecting or refusing with the appointment s that
                  shall have been made as aforesaid.
                     [Section XII.] (Section XII, P. L.) And be it further
                  enacted by the authority aforesaid, '.!.'hat if any commissioned
                  officer shall remove out of the bounds of his prop,er division,
                  brigade, battalion or company, except within the city of Phila-
                  delphia (as the case may be), or shall be absent therefrom
                  (otherwise than on militia- duty) for more than six months, his
                  office shall be thereby vacated; and if a light-horseman, shall
                  remove or be absent in like manner .from the bounds, of his
                  troop, or be appointed or elected a commissioned officer in any
                  other part of the militia, his place in t)le said light-horse shall
                  Ukewise be vacated.
                     [Section XIII.] (Section XIII, P. L.) And be it. further
                  enacted by the authority aforesaid, That every militia,ma.n
                  migrating or remo,ving out of the bounds of one battalion or
                  company to another, shall apply to the commanding officer o.f
                  the compaJ1y to which he did belong, who· shall give him a



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     1798]              The Statutes at Large of Pennsylvania.                          465
     discharge, certifying the class to which he belongs, and! whether
     he has served his tour of duty or not, and the time and date of
     said service, which certificate the said militia-man shall pro-
     duce to the captain or commanding officer of the company in
     whose bounds he next settles, within ten days after his settle-
     ment, and the said captain or commanding officer is hereby re-
     q nired to enroll him in the class lilpecified in the said certi-
     ficate.
        [Section XIV.] (Section XIV, P. L.) And b(l it· further
     enacted by the authority aforesaid, That the whole of the
     militia of this state shall be subject to be mustered and exer-
     ci~ed in regiments and in companies, by their respective o.fficers,
     in the autumn or fall season of every year, on the da,ys, herein-
     after sta.ted, to wit: In regiments, as follow: the first regiments
     of each and every brigade in the commonwealth, shall be exer-
     cised on the tbfrd Monday in the month of October; the second
     regiments, on the Tuesday following; the third regiments, on
     the Wednesday; and so on, according to their numerical rank,
     on eve1•y day in the week (Sa.turdays and Sundays excepted)
     until the whole number of regiments shall have mustered and
     exercised in th)e .aforesaid: manner; and the several regiments
     sha.U meet· and exercise in companies on the first Monday in
     the month of October; and the militia shall be and is hereby
     indemnified and excused from mustering and exercising on any .
     other days than those enumerated in this a.ct.
        [Section XV.] (Section XV, P, L.) And be it further
     enacted by the· authority aforesaid, That if any commissioned
     officer shaU, without a lawful excuse, neglect or refuse to, at-
     tend on any of the days hereinbefore appointed for exerr.ise, if
     a field officer, he shall forfeit and pay the sum of four dolla.rs;
     and every other commissioned officer shall forfeit and pay the
     sum of two dollars; and every non-commissioned, officer or
     private, so, neglecting or refusing to attend, shall forfeit and
     pay the sum of one dollar for every such. neglect or refusul;
     except such commissioned officer, non-commissioned officer and
     privates, who, shall be summoned and: actually attending, on
     any of the days of exercise, aforesaid:, as a. juror or witness in
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   466                          The Statutes at Large of Pennsylvania.             [1793
                   any court within this commonwealth, and the same fines shall
                  be respectively paid by every officer, non-commisisioned officer
                  or private who shall lea,ve the parade on a day of exercise before
                  the regiment 01• company is discharged:, without leave first bad
                  and obtained of the officer commanding.
                     [Section XVI.] (Section XVI, P. L.) And be it further
                  enacted by the authority aforesaid, In order to ascertain those
                   persons who by their absence on the days of exercise shall ha,ve
                  incurred the fines abo,ve mentioned, a sergeant or the clerk o,f
                  each company shall, on every such day, in the presence of the
                  captain or commanding o,fficer of the company, a;t the end of
                  one hour after the time appointed for the meeting of the com-
                   pany or regiment, and also after the exercise is. o-ver and be-
                  fore the men are discharged, call over a. muster-roll of the com-
                  pany, noting those who a.re absent, and a return shall be made
                  on the snme or foHowing day of such a.bsentees, which shall
                   be signed by tllJ sergeant or clerk and by the captain or com-
                  manding officer of the company, and shall, within ten days
                  thei•eafter if a, reg,imen tal meeting, or if· a company meeting,
                  within ten days after the next regimental meeting, be returned
                  by the said captain or commanding O!fficer pf the company,
                  upon his oath or affirmation, to the inspector of the brigade,
                  under the penalty of fifty dollars for every time he sha.JI refuse
                  or neglect to ·make such return, and if any of the said ab-
                  sentees shall have been unable to attend from sickness or un-
                  avoidable necessity, and shall within the space od' eight days
                  next after the day of exercise, state bis case by himself o,r his
                  friend to the said captain or commanding officer of the com
                  pany, and satisfy him of the truth thereof, then the said captain
                  or comm.anding officer of the company, shall mentio,n in his said
                  return the particula.r reasons· of excuse which each absientee
                  shall ha;ve made appear to, his satisfaction, and the inspector, on
                  sight of the said retUl'n, shall admit every such excuse as shall
                  appear to him reasonable, without favor or partia.Jity, and re-
                  mit the fines according',iy, but no excuse shall be re:ceived at
                  an,y other time or in any other manner, than as is abo,ve pre-
                  scribed.




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      1793]            The Statutes 'at Large of Pennsylvania,                          467
         [Section XVII.] (Section XVII, P. L.) And be it further
      <>nacted by the autho'l'ity aforesaid, That whenever it may be
      necessary to call into a.ctuaJ service aJ1y pa.rt of the militia in
      case of rebellion, O'l' of an actual or threatened invasion of this
      or any of the neighboring states, then it shaJI and may be law-
      ful for the governor to order into actual service, such part of
     the militia, by classes, as the exigency may require;
         Provided, Tha.t the part so called doth not exceedl four
      classes of the militia o.f the brigade or brigades so called out.
         And provided also, That such brigade or brigades shaJl not
      be again called· out to furnish any more militia, until aJ1 equal
      number of classes of the militia of the other brigade or
      brigades, respectively, be first called, unless the danger of an
      invasion from Indians or others should make it necessary to
      keep in reserve the militia of such brigade or brigades fo'I.' their
      own immediate defence.                                             .
         [Section XVIII.] (Section XVIII, P. L.) And be it further
      enacted by the authority aforesaid, That to the end that the
      militia, when called by classes, shall be properly officered, thie
      following order is hereby directed and enjoined; that is to say,
     for the :first draft, the captain of the :first comptl!ny, the lieu-
      tenant of the second and the ensign of the fourth; second draft,
      the captain of the second company, the lieutenant of the first
     ·and the ensign of the third; third draft, the captain of the third
      company, the lieutenaJ1t of the fourth a.nd the en&i.gn of the
      second; fourth draft, the fourth captain, the lieutenant of the
      third company and the ensig'll of the first; fifth dra,ft, the fifth
      captain, the lieutenant of the Bixth compMy and the ensign of
      the eighth; sixth draft1 the sixth captain, the lieutenant of the
     :fifth company and the ensign of the seventh; seventh draft, the
      captain of the seventh company, the lieutenant of the eighth
     and the ensign of the sixth; eighth draft, the captain of the
      eighth compa.ny, the lieutenant of the seventh and the ensign
     of the fifth; non-commissioned officers to taJce tour of duty with
     the commissioned officers, and the field officers of ~egiments, in
     every division and brigade in the state, shall be divided in like
     manner, and each class to be considered as a detachment from
     different corps liahle to, serve two months and no longer, and to



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   468                         The Statutes at Large_ of Pennsylvania.            [1793
                  be relieved by the class next in numerical order, the relief to
                  arrive at least two day~ before the expiration of the term of the
                   class to be relieved, but nothing herein contained shall pr-e•vent
                  tJ;te govern01• from employing and calling out part of any cla.ss,
                   or any company or companies, regiment or regiments, with-
                  out respect to this rule, whenever the exigency is too sudden
                  to allow the assemblying of the scattered militia which com-
                   pose the particular classes, and the services of the persons so
                   called out shall be accounted as .Part of their tour of duty, and
                   the pay of the militia in actual service shall commence two
                   days before marching·, and they shall receive pay and ra.tions
                   at the rate of fifteen miles per day on their return home.
                       [Section XIX.] (Section XIX, P. L.) And be it further
                   enacted by the authority aforesaid, That, it shall and may be
                   lawful for any person called to do a tour of duty to find a suffi-
                   cient substitute, such substitute being approved of by the cap-
                   tain or commanding officer of the company which he shall be
                   offered fo serve in.
                      Pro.vide.d always, That persons serving by substitute as
                   aforesaid, if said substitute shall be called in his own turn
                   into actual service before the term expires which he was to
                   serve for his employer, that then the person procuring such
                   substitute shall march in his said substitutes' turn, or be liable
                   to pay his fine for neglect, which fine is to be recovered as other
                   fines for neglect of serving· are by this act directed fo be re-
                   covered, and that sons who are not subject to the militia law
                   may be admitted as substitutes for their fathers.
                       [Section XX.] (Section XX, P. L.) And be it further enacted
                   by the authority aforesaid, That when the militia, or any de·
                  tachment thereof, are called out on duty, the pay of each major-
                   genera.l shall be sixty dollars per month; of each brigadier-
                   general, fifty dollars per month; of each lieutenant-colonel,
                  forty dollars per month; of each major, thirty dollars per
                   month; of each captain, twenty-five dollars per month; of each
                  lieutenant, twenty dollars per month; of each ensign, fifteen
                  dollars per month; of each sergeant, eight dollars per month;
                   of each corporal, seven dollars per month; and of each private
                  and musician, six dollars per month; and that every person



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      1793]             The, Statutes at Large of Pennsylvania.                          469
      refusing or neglecting to perform his tour of duty, in per~n
      or by substitute, shall pay the sum of twelve dollars for every
      such neglect or refusal, if the tour was to be for a term not ~x-
      ceeding one month and in proportion if the to,ur was to be for
      any longer term.
          [Section XXI.] (Sectiou XXI, P. L.) And be it further
       enacted by the authority ,aforesaid, 'l'hat when a,ny class or
      classes of the militia shall be called to perform any tour of duty,
      the brigade inspector shall cause each a,nd every person so
      called to be notifi,ed of such call, by a written or printed notice
       being delivered fo him personally, or left at his house or usual
      place of a.bode, by some officer or other fit person employed for
      that purpose by the commanding o,fficer of said company, a,t
      least three days before the time of assemblying the said militia,
      unless the governor, on a, sudden exigency, shall think proper
      to order any part of the militia into immediate and actual ser-
       vice, and then the notice mentioning such special order shall
      be given for immediate attendance; and any person refusing or
      neglecting to perform such tour of duty, shall pay a fine of six-
       teen dollars per month for every such offence.
          [Section XXII.] (Section XXII, P. L.) And be it further
      enacted by the authority aforesaid, That the inspector shall,
      forthwith after the ma,rching of any part of the militia, call
       to his assista.nce two reputable citize;ns, one of whom shall be
      a justice of the peace, to sit at the most convenient place for the
      inhabitants of their respective districts, ootice having been
      given of such place in the written or printed summons of every
       militia-man so caJled out, a.nd shall there hear and determine
       all appeals that may be made by the persons. thinking them-
      selves aggrieved by anything done in pursuance of this act;
      and they are hereby authorized and required to grant such re-
      lief to such appellant as fo them shall appear just and reason-
      able (in consideration of such inability of body as in the opinion
      of the court renders him incapable of perfo,rming military
      duty) or of up.avoidable, absence from the brigade in which he
      shall reside; and each of the said reputable citizens, before
      they shall sit Olli the said appeal, shall take the following oath,
      or affirma,tfon, viz.: That he will hea;r and impartially deter-



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  470                         The Statutes at Large of Pennsylvoniia.           [1793
                mj,,ne on the cas-es of appeal that may be laid before him,.agree-
                ably to law and a.ccording to the best of his- knowledge; which
                oath or affirmation the inspector is hereby empo,wered to ad-
                Illinister, mud the s•aid justice and citizen shaJl have and receive
                from the said inspector the sum of one doUar each, fo.r every
                day they sit on the appeals; and the said inspector and justice
                of the peace shall keep a separate record o.f the proceedings of
                 such court of appeals, and if any delinquent, whose appeal
                shall have been. determined a.gainst him, shall not pay his fine
                 within five daifs after such determination, the inspector shall
                 and may proceed to levy the said fine in manner hereinafter
                mentioned.
                    [Section XXIII.] (Section XXIII, P. L.) And be it further
                enacted by the authority a.foresald, That the commanding
                 officers of the several regiments shall attend at the place o.f    1


                rendezvous of the marching class o·r classes, and the command-
                ing officeirs of the marching class or class-es are hereby re-
                quired, then and there to deliver, to the comman.ding officer of
                the regiment, a muster-ro,le o.f all those who, attend and pro-
                ceed to perform their then required tour of duty, under the
                penalty of fifty dollaJ.'s, which return1 or muster-roll shall be
                transmitted by the said commanding officer of the regiment,
                within five days after marching, under the penalty of fifty dol-
                lars, to the inspector o.f the brigade to which they respectively
                belong.
                    [Section XXIV.] (Section XXIV, P. L.) And be it further
                !'nacted by the authority aforesaid, That the following articles,
                rules and regulations shall be those by which the militia shall
                be governed.
                   Article 1. If any field or other commissioned o•fficer at any
                regimental review, or on any other occasion when the regi-
                ment or company to which he may belong, or in which he holds
                a; command, is paraded in arms, shall appear, misbehave or de-
                mean himself in a,n unofficerlike manner, he shall, for such
                offence, be cashiered or punished by fine at the, discretion of
                a general court martial, as the case may require, h1 any sum
                not exceeding sixty doUars, and if any non-commis1:1ioned




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     1793)             The Statutes at Large of Pennsylvania.                           471
      officer or private shall, on any oca,sion of pavading the com-
      pany to which he belongs, ap,pear with his arms and accoutre-
      ments in an unfit condition, or be drunk, or sha.Il disobey
      orders, o:r use a.ny reproachful o·r a,busive languag~ to bis
      officers, or any of them, o,r shall quarrel himself or promote
      any quarrel among his fellow soldiers, he shall be disarmed
      and put under guard, by ordeir of the commanding officer pres,
     ent, ,until the compa,ny is dismissed, and shall be fined, at the
      discretion of a regimental court martial, in any sum not ex-
      reeding four dollars, nor less than one. dollar.
         .A1•ticle 2. If the lieutenant colonel or commanding o,fficer of
      any regiment shall neglect or refuse to give orders for assem-
      blying his regiment at the times appointed by this law, or at
      the direction of the inspector o.f the brigade to which he be-
     longs, when the said ins:p,ector- is thereto commanded by the
      governor, or in case of an inva,siollj of the city or county to
      which such regiment belongs, he sh:aJ.1 be cashiered and pun-
      ished by fine not exceeding two hundred dollars, at the discre-
      tion of a general court :martial; and if a commissioned officer
     of a,ny company shall, on any occasion, negle·ct or refuse to give
      orders: fo:r assemblying the company to which he: belongs, or
      a.ny pa.r:t thereof, at the direction of the lieutenant colonel or
      commanding officer of the regiment to, which such company
      belongs, he shall be cashiered and punished by fine not exceed-
      ing sixty dollars) at the d~scretion o.f a, regimental court
      martial, and a, non-commissioned officer offending in such case
     shall be fined, at the discvetfon o.f a regimental court martia.I,
     in any sum not exceeding twenty doHars.
         Article 3. If any captain, or commanding officer of a com-
      pany shall refuse or neglect to make out a. list of the persons
     noticed to perform any tour of duty, and send or convey the
      same to the lieutenant-colonel or commanding officer of the
     regiment to which such company may belong, for such
     neglect or refusal he shall be cashier-ed or fined, at the discre-
     tion of a regimental court martial, in any sum not rorceeding
     forty dollars.
         Article 4. If any militia-man shall deaiert while he is on a
     tour of duty, he shaJl be fined twenty-four dollars for ev,ery such



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   472                        The Statutes at Large of .Pennsylvania.            [1798
                 offence; if a non-commissioned officer, he shall be degraded and
                 placed in the 1,anks.
                    Article 5. Every general court maJ.•tial shall consist of thir-
                 teen members, all of whom shall be commissioned officers a.nd
                 of such rank as the case may require, and these thirteen shall
                 choose a president out of their number, who shall be a, field
                 officer.
                    A1>ticle 6. Every regimental court martial sh'a.11 be com:posed
                 of five members, all commissioned officers, wh!o ,are to choose
                 one of their members a president, not under the rank of cap-
                 tain.
                   Article 7. In any court martial, not less than two'.thirds of
                 the members must agree in every sentence for inflicting any
                 punishment, otherwise the person charged shall be a.cquitted.
                    Article 8. 1'he president of each and every court martial,
                 whether general 01• 1•egimental, shall require all witnesses, in
                 order to the trial of offenders, to declare on oath or affirma-
                 tion that the evidence they s,half give is the truth, the whole
                 truth and nothing but the truth, and the members of aJI such
                 rourts shall take an oath or affirmation, which the president is
                 required to administer to them, that they will give judgment
                 with impartiality.                                        ,
                    Article 9. All members of any militia called as witnesses in
                 any case before· a court martial, who shall refuse to attend and
                 give evidence, shall be censured 01· fined, at the dis.cretion of
                 the court.                         .
                    Article 10. No officer or private man being charged with
                 transgressing these rules, shall be s11ffered to do duty in the
                 regiment, company or troop, to which he belongs, until he has
                 his trial by a court martial, and every person so charged shall
                 be tried as soon as a. court martial can conveniently be as-
                 sembled.
                    Article 11, If any oifflcer or private ma.n shall think himself
                 injured by his lieutenant colonel or the commanding officer of
                 the regiment, and shall, upon due application made to him, be
                 refused redress, he may complain to the brigadier general, who
                 shall direct the inspector of the brigade to summon a general
                 court martial, that justice may be done.




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     1798]              Tlte Statutes at Large of Pennsylvania.                           478.
         Article 12. If any inferior officer or private man shall think
      himself injured by his calJ}tain or other superior in the regi-
      ment, troop or company to which he belongs, he may complain
      to the commanding officer of the regiment, who shaJl summon
      a regimental court martial, for doing justice, according to the
      nature of the case.
          Article 13. No penalty shall be inflicted at the discretion of
      court martial other tha,n degrading, cashiering or fining.
         Article 15. * 'l'he commanding officer of the militia, for the
      time being, shall have full power of pardoning or mitigating
      anyc,ens·ures or penalties ordered to be inflicted on any private
      or non-commissioped officer, for the breach of any of these arti-
      cles, by a general court martial; and every offender convicted,
      as aforesaid, by any regimental court martial, may be pardoned,
      or have the penalty mitigated by the lieutenant colonel or com-
       manding· o.fficer of the regiment, excepting only where such
       censures or pen;alties are directed as satisfaction for injuries
                                                       1



      received by one officer ·or private man from another; but in
      case of officers, such sentence to be approved by the com.man.der-
      in-chief, or the neaxest general office1• of the militia., who are
      respectively empowered to pardon or mitigate such sentence,
       or disapprove of the same.
          Article 16. The militia, on the clays of exercise, may be de-
      tained under arms on duty in the field, any time not exoeed-
       ing six hours, provided they axe not kept above three hours
      under arms· at any one time, without allowing them a proper
       time to refresh themselves.
          Article 17. No company or regiment shall meet at a. tavern
       on any of the days of exercis e, nor shall march to any tave!l'n
                                           1



       before they are discharged, and any person who shall bring
      any kind of spirituous liquors to such place of training, shaJl
      forfeit such liquors, so brought, for the use of the poor belong-
       ing to the ward, district or township where such offender
       lives.
          Article 18. All fines that shall be incurred by any breach
      of these rules, shall be paid into the hands of the inspectors of
       the brigades to which the offenders belong, or to such person
               •This mistake In numbering occurs In the original.




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  474                       The Statutes at Large of Pennsylvania.           [1793
                or persons as he shall a.ppoint and make kll'own in general or
                brigade orders as his a.gents or attorneys to receive the same,
               within three weeks after they become due, but in case of neglect
               or refusal to pay any of the said fines, the said inspector shall
                cause the same to be collectect and levied in manner herein-
               after mentioned.
                  A1-ticle 19. The rules of disciplin,e approved and established
               by congress in their resolution o,f the 29th of March, one thou-
               sand seven hundred and seventy-nine, shall be the rules of dis-
               cipline to l>e observed by the militia throughout this state, ex-
               cept such devia.tions from said rules as may be rendered neces-
               sary by tb:e requisitions of this act or some either unavoMa.ble
               circumstances. It shall be the duty of the commandin,g officer
               at every muster, whether by regiment or single company, to
               cause the militia to be exercised and trained agreeably to the
               said rules of discipline.
                  Article 20. The militia of this state, whilst in the actual
               service of the United States, shall be subject to the same rules
               and regula,tions a·s the federal all".llly; provided that upon any
               t:vansgression or offence of a militia,.man, whether officer or
               private, against the rules and regula.tions of the federal army,
               the ca.use shaJl be tried and determined by a court martial of
               the militia of this state, and that it shall be in the power of
              the governor, or in case of his absence, of the commanding
              officer of the militia, to mitigate, suspend, or pardon any pun-
              ishment to which a.ny militia-man may be sentenced by a gen-
              eral court martial.
                  [Section XXV.] (Section XXV, P. L.) And be it further
              enacted by the authority aforesaid, That no civil p.roces•s shall
              be served on any commissioned, non-commissioned officer or
              private, at any regimental review or training of any company,
              o,r while going to or returning from the place of such review
              or training.
                  [Section XXVI.] (Sectio,n XXVI, P. L.) And be it further
              enacted by the a,uthor1ty aforesaid, That for the purpose ·of col-
              lecting and levying the fines that shall be incurred,1 as well
              for non-attendance on days o·f exeircise as for neglect of per-
              forming tours of duty, and also all such fine& as shall be im-



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     1793]             The Statutes at Large of Pennsylvania.                          475
     poood by court ma.rtial on persons belonging to their respective
      brigades, it shall and ·may be lawful for the sieveraJ brigade
     inspectors to appoint one or more p,roper pel'SiO·ns, by warrant
     under their respective hands and seals, to be collectors of the
     sadd fines; a,nd the said collecto,rs) by virtue of the siaid wa.r-
     rants, shall be authorized and empowered to call on ev-ery de-
      linquent that shall be named in the lists to, be1 furnished to
     them by the said inspectora, and demand p,a,yment of the said
     fines, and of five per centu.m on the amount thereof for their
      trouble in coJlecting the same, and on neglect o·r refusal o.f such
     payment, then the said collectors sha.11 proceed: to, le.vy the said
     fines, with costs equal to those re:c,eived by cons.tables or
      sheriffs in simila,r cases, by distress, irreplevisa,ble a,nd snle of
     the offender's ·goods and chattels, lands and tenements, in like
      manner and with like effect as the collecto,rs o.f taxes may or
      can do by virtue of any law o,r laws of this· coonmonwealth.
         Provided, That in the case o.f seizure o.f lands or tenements,
      the same notice shall be given previous to the sale thereof as is
      required in case of land sold: by a sheriff, by virtue of a writ
      of venditioni exponits, and no process shall iss1ue to- stay the
     execution of such warrant, unless in the case of the seizure of
      real estate.
         Proivided always, That if any person shall think himself
      aggrieved in the seizure of his lands and teneme,nts, he may
      enter a,n appeal before the judges of the next court o.f common
      pJeas for the proper county, and on the pa.riles giving sufficient
      security, within fifteen da.ys next after any lands o·r tenements
      shall be seized or distra.ined, as aforesaid, to, pros,ecute such
      appeal with effect, the judges shall receive the s-ame an.d smy
      fu~her process, a,nd the, s aid judges shall return every such
                                     1



      appeal 011: the first day of the next term, and the court shall
      direct ia, trial by jury of the county, as in cases o.f debt, whose
      verdict shall be final and conclusive, a.nd except· in extra.-
      ordinary cases, o.f which the court shall judge, all such appeals
      shall be tried at the term to which such returns shall be made.
         Provided also, 'l'hat in case re3:J estates be sold as aforesaid,
      such sale shall be made by the sheriff of the county, who shaJl.
      make a sufficient deed for the same, and if any coUector, ap-



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   476                         The Statutes at Large of Pennsylv®ia.              [1793
                  pointed by any brigade inspector, as aforesaid, and having ac-
                  cepted of his a,ppointment, shall refuse or neglect to perform
                  his duty, he shall, for every such offence, forfeit and pay, at the
                  discretion of the courts of quarter sessions of the peace within
                  this commonwealth, any sum not exceeding forty dollars.
                     [Section XXVII.J (Section XXVII, P. L.) And be it further
                  enacted by the authority aforesaid, That any perso,n who shall
                  or may be appointed by auy brigade inspector within this state
                 to collect the militia, fines, shall be bound to• a,ccount with and
                  pay over to the inspector of the brigade, by whom he shall
                  have been so appointed, all the moneys received by him. for
                 fines, within ten days after demand thereof shall be made; and
                  all and every such persons refusing to render or settle his ac-
                  count in manner aforesaid, shall be liable to ha,ve his goods,
                  chattels, lands and tenements, within this state seized and
                 secured by warrant, under the h:u1d and seal of the inspecto,r of
                 the brigade in which such delinquent collector hath or may have
                 acted, directed to the sheriff or coroner of thei proper county,
                 who shall make report of his, p,roceedings to the said inspectors,
                 and if there are no such goods, chattels, lands, or tenements,
                  or they being seized, he shall continue to withho.Jd or refuse to
                 settle his account of fines received, then, and in that case, the
                 said inspector shall issue his warrant, under his ha.nd and seal,
                 dir.ecting the sheriff or the coroner of the county in which the
                 delinquent may be, to seize and take his body ancl commit the
                 s,ame to the common gaol of the county, there to continue with-
                 out bail or mainprise until he shall exhibit and settle his ac-
                 count, as aforesaid, and discharge the costs of prosecution, and
                 all and every ·collector appointed as afore-said, who hath or
                 shall upon settlement of his accqunt, be found to have a bal-
                 ance due by him of the fines collected, and a.hall not, within
                 ten days after demand made by the inspector, discharge and
                 pay the frill amo-unt thereof, then and in such case it shall and
                 may be lawful for the said inspector immediately to issue his
                 warrant to the sheriff or coroner, to levy the sum due by such
                 delinquent collector, by distress and sale of the offender's goods
                 and chattels, lands and tenements, together with costs and
                 charges, which distress acrid s~le shall be made in manner be·



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     1793]               The Statutes at Large of Pennsylvania.
     fore directed for tour and muster fines and fl.rues imposed by
     courts martial, but if no such goods and chattels, lands or tene-
     ments can be found, then to seize and take the body of such
     offender and commit him to the common gaol, there to· remain
     for the space of six months, unless he shall sooner discharge
     the debt, or procure such security that the same shall be dis-
     charged within a reasonable time, as may secure and satisfy the
     said inspector.
        [Section XXVIII.] (Section XXVIII, P. L.) And be it
     further ena.cted by the authority aforesaid, That all and every
     of the fines and forfeitureSI by this act made payable, an.d the
     mode of recovery not hereinbefore particularly pointed out,
     shall be recovered by the inspectors of the several brigades in
     the name and for the use of the commonwealth, by action of
      debt before a justice of the peaoe, or in any court of record
      within this commonwealth, as from the amount thereof they
      shall be more properly cognizable, and the said inspector shall
      account for and pay yeaJ'ly to, the treasurer of the common-
      wealth all such fines as he shall receive by virtue of this act.
         [Section XXIX.] (Section XXIX, P. L.) And be it further
      enacted by the authority aforesaid, That a.U moneys passing
     into the treasury by virtue of the directions of this act, shall
      be appropriated a,s a fund for the purpose of supporting the
     ·necessary officers for carrying this law into effect, and of
      equipping and furnishing the militia with every necessary
      apparatus for the defence a,nd security of the state, the sur-
      plus, if any, to be appropria.ted in iiuch ma.nner and· to such
      uses as the general as.sembly shall from time to, time direct and
      appoint; and the treasurer of the commonwealth shall keep
      all the moneys arising from fines by the militia la.w separate
     from all other moneys, and keep separate books of the same, and
      the expenditures thereof, pursuant to the directions of this act.
         [Section XXX.] (Se.ction XXX, P. L.) And' be it enacted
      by the authority aforesaid, That the brigade inspector and fwo
     reputable citizens, shall app,raise the horse of each person serv-
     ing as a Hght-horseman, immediately before every time of going
     into actual service, and ent~r the same in a book, and in case
     such horse shall be killed or die in actual service, or be taken



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   i178                             The Statutes at Large of Pennsylvania.            [1793
                    by the enemy otherwise than by neglect, he shall be pa,id the
                   full value of his horse, according to the s:aid appraisement, by
                    an order to be drawn by the inspector o,n the militia fund in the
                    hands of the treasurer for that purpose.
                       [Sectio,n XXXI]. (Section XXXI, P. L.) And be it further
                    enacted by the auth'ority aforesaid, Th'at if any officer, non-
                   commissioned officer, or private militia-man, or volunteer acting
                    with the militia, residing in this state, having a family, sh'all
                    be killed or shaJl die of his wounds received in the service of
                    th.is s,ta.te, his widow, child or childJ.1en shall be entitled to sim-
                    ilar relief, and under the sam:e regulations' and restrictions, as
                    were p1•ovided by the act, entitled "An act to, provide for the
                    more effectual relief of the widows and children o.f the officers
                    and privates of the militia who have lost their lives in the ser-
                   vice of their country,m pa,ss,ed o,n the twenty-seventh day of
                    March, o,ne thousand ·seven hundred and ninety, and if any
                   officer, non-commissioned ,officer, or private militia-man, or
                   volunteer acting with-the militia, residing in this state, shall
                   be wounded or otherwise disabled in the service of this state,
                    he shall be entitled to simila,r relief, and under the same regu-
                   lations and restrictions as had been provided by an act, en-
                   titled "An act to alter a,nd amend the act, entitled 'An act for
                   the relief of officers, soldiers and seamen, who in the course
                                                                                         1
                   of the late war have been wounded or otherwise disabled in
                   the service of this state or of the United States,' 112 p,assed the
                   tenth day of l\farch, one thousand seven hund'red and eighty-
                   seven.
                      [Section XXXII.J (Section XXXII, P. L.) And be it further
                   enacted by the authority afo'l'esaid, That if a·ny person or per-
                   sons shall knowingly sell, buy, take or exchange, conceal or
                   otherwise fraudulently receive any a.r.ms,, accoutrements,, colors
                   or dl'ums, belonging to this state or the United States, or on
                   any account or pretence whatsoever, the pel'son so offending,
                   being convicted thel'eof before one or more justice o,r justices
                   of the peace of the city or county where such offenoo shall be
                   committed, shall forfeit and pay for every such ,offence treble
                          1 Chapter 1493,
                          2 Chapter 1Z71.




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      1793]            · The Statutes at Large of Pen,nsylvania.                         479
      the vailue o.f such arms or accoutrements, to be ascertained by
      the said justice o,r justices, and levied by distress and sale o.f
      the offenders' goods and chattels, by the justice or justices be-
       fore whom such offender shall be convicted, returning the over-
      plus, if any, on demand, to such o·ffender, and for want of such
      distress, sb:aJl com1mit such offender to the common gruol of the
      county, theve to remain without bail or maiinprise, for any term
      not exceeding three months, unless ~uch. mone-y shall be s-0oner
       pa.id, and in every such case the p1'0-0.f of the [properly] shall
       lie made by the pos·sessor of such arms and accoutrements.
           LSection XXXIII.) (Section XXXIII, P. L.) And be it
       further enacted by the authority aforesaid, That if any suit or
       suits shall be brought or commenced against any person or per-
       sons for anything done in pursuance of this act, the action shall
      be laid in the county where the ca.use of such action did arise,
       and ,not elsewhere, and the defendaait or defend·ants in such
      action or actions to be: brought, may plead the general issue,
       and give this act and the special matter in evidence, and if
       the jury shaJl find for the defenda,nt or defendants in surh
      action or actions, or if the plaintiff or plaintiffs, shall be non-
       suited or discontinue his o,r her action or actions after the, de
       fend ant 01• defendants shall have appea,red, or if upon demurrer:
      judgment shall be given aga.inst the plaintiff or plaintiffs, the
      defend:ants shall have treble costs, and have the like remedy
       fo·r the same, as a,ny defendant or defendants hath or h:ave in
      other cases, to recover costs by law.
          [Section XXXIV.] (Section XXXIV, P. L.) And be it
       further enacted by the a,uth10rity aforesaid, That an act, en-
       titled "An act for the regulation of the militia of the common-
      wealth of Pennsylvania,"3 passed on the twentieth day of
      March, in the year of our Lo,rd one thousand seven hundred and
      eighty, also a supplement to the said act passed the twenty-
      second day of September one thousand seven hundred and
      eighty,4 also the supplement to the said a:ct passed on the
      twenty-first day of March, iill the year of our Lord one thousand
              a Chapter 902.
              4 Chapter 916.




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  480                           The Statutes at Large of Pennsylvania. ·          [1798
               seven hundred and eighty-tlwee,5 also a further supplement
               thereto passed on the twenty-second day of Septem.ber, in the
               year of our Lord one thousand seven hundr.ed. and eighty-three,6
               also so much of an act passed on the ninth day of December, in:
               the year of our Lord: one tb:ousand seven hundred and eighty-
               three,· entitled "An act for the more effectually securing an·d re-
               covering· for the uses of the commonwealth the moneys, due for
               excise and militia fines and for other purposes therein men-
               tionedm as comes within the intent, meaning and purview of
               this act, also a further supplement to the said recited acts
               passed on the twenty-second day of March, in the1 year of our
               Lord one thousand seven hundred and eighty-eight,8 be, and the
               same are hereby, repealed and made null and void.
                  Provided always, That nothing herein contained shall be
               construed so as to revive any former law or part of a law which
                in and by any of the said recited actsi is repealed. and' made
               void.
                  Provided also, That nothing in this act contained shall be
               deemed to repeal, alter and dispense with the powers, authori-
               ties or duties. of the [present] lieutenants of the city of Phila-
               delphia. and of the .several counties in this commonwealth, or of
               any other officer or person under the militia la.ws that have
               been enforced in this state immediately before the passing of
               this act, until by new appointments under this, act their re-
               spective functions and duties shall have devolved on other per-
               sons, and that the said present lieutenants and other proper
               officers are hereby authorized, required and enjoined to, col-
               lect, or cause to be collected, all such fines and forfeitures as
               have been or shall be incurred during the continua.nee of their
               respective commissions, and pay in the same agreeably to this
               law, or the late laws aforesaid, on or before the first day of
               January next.
                  [Section XXXV.] (Section XXXV, P. L.) And be it further
               enacted by the authority aforesaid, That the governor shall
                       5 Chapter 1022.
                       6 Chapter 1038.
                       7 Chapter 1061.
                       s Chapter 1839.




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     1793]              The Statutes at Large of Pennsylvania.                                     481

     cause a: sufficient number of copies o,f this law, and of the rules
     of discipline a:pproved a.nd established by congress in their
     resolution of the twenty-ninth day of March, one thousand
     i;ieven hundred and seventy-nine, to be printed in the English
     and German languages and distributed throughout the state,
     so that every general and field officer, every brigade insl()ector
     and every captain be furnished with one copy, and it shall be
     the duty of every captafn at every company meeting to read, or
     cause to be read, to the company, the same, or such part thereof
     a.s he ma.y think neces.sary.
              Passed April 11, 1798. Recorded L. B. No, -, p. -.   (not given).
              Repealed by a.ct of April 0, 1799; Chapter 2068,



                              CHAPTER MDCXCVII.


     AN ACT FOR ERECTING A LOAN-OFFIOE FOR THE SUM OF FIVE' HUN•
                      DRED THOUSAND DOLLA:RS,

        Whereas the institution of a loan office, upon just and pro,per
     principles, will be gTeatly beneficial to agriculture and promote
      in general the welfare of the people of this commonwealth,
      And whereas the legislature in and by the act, entitled "An
      act to incorporate the subscribers to the Bank of Pennsyl-
     vania/'1 did reserve, for the purpose of instituting· such loan
      office, a power to borrow from the said bank an adequate sum
     of money. In order, therefore, to ca:rry the same into effect:
         [Section I.] (Section I, P. L.) Be it enacted by the Se'.llate
     and House of Representatives of the Commonwealth of
      Pennsylvania, in General Assembly met, and it is hereby
     enacted by the authority of the same, That a sum not exceed-
     ing five hundred thousand· dollars, s:hall be borrowed of the
     Bank of Pennsylvania, and appropriated for the sole and exclu-
     sive purpose of being lent to the citizens of this state, upon
     mortgages upon real estate, under restrictions, limitations and
     regulations, and in the · respective proportions hereinafter
     directed.
             1 Passed March 30, 1793;   Chapter 1667,
              31-XIVl


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